Case 3:20-cv-01277-S Document 178 Filed 03/18/22              Page 1 of 73 PageID 29284



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 MICHAEL CLOUD,              §
                             §
      Plaintiff,             §
                             §
      vs.                    §                            Civil Action No. 3:20-CV-01277-E
                             §
 THE BERT BELL/PETE ROZELLE §
 NFL PLAYER RETIREMENT PLAN, §
                             §
      Defendant.             §

______________________________________________________________________________

             PLAINTIFF’S BRIEF IN RESPONSE TO DEFENDANT’S
   MOTION FOR SUMMARY JUDGMENT ON THE ADMINISTRATIVE RECORD
______________________________________________________________________________


       NOW COMES Plaintiff Michael Cloud and files his Brief in Response to Defendant’s

Motion for Summary Judgment on the Administrative Record and Brief in Support [Dkt. 161, 162],

and respectfully shows this Honorable Court as follows.
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                                                Page 2 of 73 PageID 29285



                                                       TABLE OF CONTENTS

                                                                                                                                      PAGE

TABLE OF AUTHORITIES ................................................................................................................... V

INTRODUCTION .................................................................................................................................1

FACTUAL BACKGROUND ...................................................................................................................4

     I.         Cloud’s NFL Career and Related NFL Brain Injuries ...................................................4

     II.        Defendant Violates Cloud’s Rights Under the Plan and ERISA (2009,
                2014 and 2016) ..............................................................................................................5

                A.         The Plan Personnel, Structure, and Terms .........................................................5

                B.         Cloud Unsuccessfully Requests Medical Records and
                           Assistance from Defendant ..............................................................................11

                C.         Defendant Advises Cloud he is Ineligible for T&P Benefits, to
                           Instead Seek LOD Benefits, Cloud Complies (2009
                           Application), and Defendant Promptly Denies ................................................12

                D.         Cloud Appeals Denial of 2009 Application, and Defendant
                           Ignores Physician Recommendation for Brain Studies and
                           Grants LOD Benefits .......................................................................................15

                E.         Cloud Continues Requesting Medical Records and Treatment
                           for his Injuries and is Awarded Social Security Disability
                           Benefits ............................................................................................................18

                F.         Cloud Files 2014 Application for T&P Benefits and Defendant
                           Grants Inactive A .............................................................................................20

     III.       Cloud Seeks Reclassification from “Inactive A” to “Active Football”,
                But Both the Committee and Board Summarily Deny Reclassification
                Without Any Good Faith Effort to Consider It or Allow a Full and Fair
                Review .........................................................................................................................24

                A.         In Fewer Than 24 Hours, Defendant Rushed the Committee’s
                           Summary Denial ..............................................................................................25

                B.         The Board Denies Reclassification ..................................................................27




                                                                       ii
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                                                   Page 3 of 73 PageID 29286



                          1.          Groom Prepares Incorrect Result-Oriented Case
                                      Summaries............................................................................................27

                          2.          NFL and NFLPA Lawyers Decide Cloud’s Case ................................31

                          3.          The Private Caucuses ...........................................................................33

                          4.          The Board Meeting ..............................................................................35

                          5.          The Board Minutes ..............................................................................36

                          6.          The 2016 Appeal Decision Letter ........................................................36

     IV.       Defendant Begins Slow Disclosure of Medical and Other Records ............................41

     V.        Cloud Lawsuit ..............................................................................................................42

IMPROPER USE OF MOTION FOR SUMMARY JUDGMENT ..................................................................43

STANDARD OF REVIEW ...................................................................................................................43

     I.        De Novo Standard Applies ...........................................................................................43

     II.       Alternative Stripping of Deference Under Abuse of Discretion Standard
               ......................................................................................................................................44

     III.      Alternative Abuse of Discretion Standard: Structural Conflict ...................................46

ARGUMENT AND AUTHORITIES .......................................................................................................47

     I.        Summary of the Argument...........................................................................................47

     II.       Defendant’s Egregious and Systemic Violations of the Plan and ERISA
               Statute Require De Novo Review ................................................................................47

               A.         Cloud’s administrative appeal was timely, the Board did not find
                          otherwise, and Groom (and another lawyer) fabricated the
                          Untimeliness Argument ...................................................................................47

               B.         Cloud’s 2016 Application for Reclassification satisfied the
                          Changed Circumstances requirement – even as to All the
                          Various Inconsistent Ways in Which Defendant (i.e., Groom)
                          has defined it ....................................................................................................49




                                                                        iii
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                                                   Page 4 of 73 PageID 29287



                           1.         The Board interprets Changed Circumstances in
                                      numerous ways and Cloud satisfies all of them (at least
                                      the reasonable ones) .............................................................................49

                           2.         Cloud did not “admit” failure to meet Changed
                                      Circumstances ......................................................................................56

                C.         Cloud met the Shortly After requirement for Active Football
                           (T&P Benefits) Even Though Not Required for Psych Disorders
                           ..........................................................................................................................57

     III.       Defendant Consistently Has Withheld Documents from Cloud and
                Impeded His Ability to Submit Documents in Support of Claims for
                Active Football (T&P Benefits) ...................................................................................62

     IV.        Cloud Does Not Challenge the Committee’s 2014 Decision to Award
                Him Inactive A (T&P Benefits) ...................................................................................64

CONCLUSION...................................................................................................................................65

CERTIFICATE OF SERVICE ...............................................................................................................65




                                                                        iv
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                                         Page 5 of 73 PageID 29288



                                                  TABLE OF AUTHORITIES

CASES                                                                                                                         PAGE

Abatie v. Alta Health & Life Ins. Co., 458 F.3d 955 (9th Cir. 2006) ............................................ 44

Ariana M. v. Humana Health Plan of Tex., Inc., 792 F. App’x 287 (5th Cir. 2019) .................... 44

Ariana M. v. Humana Health Plan of Tex., Inc., 884 F.3d 246 (5th Cir. 2018) ........................... 44

Ariana M. v. Humana Health Plan of Texas, Inc.,
No. CV H-14-3206, 2018 WL 4384162 (S.D. Tex. Sept. 14, 2018) ............................................ 44

Atkins v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
694 F.3d 557 (5th Cir. 2012) .................................................................................................. 44, 51

Atkins v. Bert Bell/Pete Rozelle NFL Player Retirement Plan,
2011 WL 13269721 (W.D. Tex. Mar. 02, 2011) .......................................................................... 63

Avenoso v. Reliance Std. Life Ins. Co., 19 F.4th 1020 (8th Cir. 2021) ......................................... 43

Batchelor v. Life Ins. Co. of N. Am., 504 F. Supp. 3d 607 (S.D. Tex. 2020) ................................ 43

Boyd v. Bert Bell/Pete Rozelle NFL Players Retirement Plan,
410 F.3d 1173 (9th Cir. 2005) ...................................................................................................... 62

Boyd v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
796 F. Supp. 2d 682 (D. Md. May 24, 2011)................................................................................ 51

Bryant v. Bert Bell/Pete Rozelle NFL Player Retirement Plan,
Civ. No. 1:12-cv-936-MHC, 2015 WL 13908103 (N.D. Ga. March 23, 2015) ........................... 51

Burell v. Prudential Ins. Co. of Am., 820 F.3d 132 (5th Cir. 2016).............................................. 44

Byerly v. Standard Ins. Co.,
No. 4:18-CV-00592, 2020 WL 1451543 (E.D. Tex. Mar. 25, 2020) ........................................... 44

Claimant ID 100218776 v. BP Expl. & Prod., Inc.,
712 F. App’x 372, 375 (5th Cir. 2017) ......................................................................................... 10

Conkright v. Frommert, 559 U.S. 506 (2010)............................................................................... 44

Davis v. Aetna Life Ins. Co., 699 F. App’x 287 (5th Cir. 2017) ................................................... 61

Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
855 Fed. Appx. 332 (9th Cir. Aug. 10 2021) ...................................................................... 3, 45, 63



                                                                  v
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                                      Page 6 of 73 PageID 29289



                                         TABLE OF AUTHORITIES (CONT'D)

Dimry v. Bert Bell/Pete Rozelle NFL Player Retirement Plan,
487 F. Supp. 3d 807 (N.D. Cal. 2020) ...................................................................................... 3, 45

Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
No. 16-CV-01413-JD, 2018 WL 1258147 (N.D. Cal. Mar. 12, 2018) ..................................... 3, 45

Eller v. Nat’l Football League Players Ass’n, 872 F. Supp. 2d 823 (D. Minn. 2012) ................... 9

Ellis v. Liberty Life Assurance Co. of Boston, 394 F.3d 262 (5th Cir. 2004) ............................... 47

In re Enron Corp. Securities, Derivative & ERISA Litig.,
284 F.Supp.2d 511 (S.D. Tex. 2003) ............................................................................................ 46

Firestone Tire & Rubber Co. v. Bruch,
489 U.S. 101, 109 S.Ct. 948, 103 L.Ed.2d 80 (1989) ............................................................. 43, 44

Giles v. Bell/Pete Rozelle NFL Player Ret. Plan,
925 F.Supp.2d 700 (D.Md. 2013) ................................................................................. 3, 17, 45, 62

Gray v. Minnesota Life Ins. Co.,
No. CV H-19-4672, 2021 WL 861298 (S.D. Tex. Mar. 8, 2021) ................................................. 43

Hodge v. Guardian Life Insurance Company of America,
Civil Action No. 4:20-CV-2088, 2021 WL 5142793 (S.D. Tex. Sept. 10, 2021) ........................ 43

Hudson v. Nat’l Football League Mgmt. Council,
No. 18-cv-4483 (GHW) (RWL), 2019 WL 5722220 (S.D.N.Y. Sept. 5, 2019)........................... 53

Ingerson v. Principal Life Ins. Co.,
Civil Action No. 2:18-cv-227-Z-BR, 2020 WL 3163074 (N.D. Tex. May 13, 2020).................. 43

Jani v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
No. 04-1606, 2005 U.S. Dist. LEXIS 10150, 2005 WL 1115250 (D. Md. April 26, 2005) ....... 63

Jani v. Bell, 209 Fed. Appx. 305 (4th Cir. 2006)............................................................................ 3

Johnson v. Bell, 468 F.3d 1082 (8th Cir. 2006) ............................................................................ 62

Katherine P. v. Humana Health Plan, Inc., 959 F.3d 206 (5th Cir. 2020) ................................... 43

Kearney v. Standard Ins. Co., 175 F.3d 1084 (9th Cir. 1999) ...................................................... 43

Keys v. Bert Bell/Pete Rozelle NFL Player Retirement Plan,
493 F. Supp. 3d 1147 (M.D. Fla. 2020) .................................................................................... 3, 43



                                                               vi
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                                             Page 7 of 73 PageID 29290



                                             TABLE OF AUTHORITIES (CONT'D)

Koch v. Metro. Life Ins. Co., 425 F.Supp. 3d 741 (N.D. Tex. 2019)...................................... 43, 44

Lafleur v. Louisiana Health Service and Indemnity Co., 563 F.3d 148 (5th Cir.2009)................ 44

Metro. Life Ins. Co. v. Glenn,
554 U.S. 105, 128, 128 S.Ct. 2343, 171 L.Ed.2d 299 (2008) ....................................................... 46

Nichols v. Reliance Standard Life Ins. Co., 924 F.3d 802 (5th Cir. 2019) ................................... 46

Niles v. Am. Airlines, Inc., 269 F. App’x 827 (10th Cir. 2008) .................................................... 44

Patton v. MFS/Sun Life Fin. Distribs., Inc., 480 F.3d 478 (7th Cir. 2007) .................................. 43

Pike v. Hartford Life & Accident Ins. Co., 368 F. Supp. 3d 1018 (E.D. Tex. 2019) .................... 44

Revels v. Standard Ins. Co., 504 F. Supp. 3d 556 (N.D. Tex. 2020) ............................................ 44

Solomon v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
No. MJG-14-3570, 2016 WL 852732 (D. Md. Mar. 4, 2016) ...................................................... 60

Solomon v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
860 F.3d 259 (4th Cir. 2017) ........................................................................................................ 60

Terry v. Hartford Life and Accident Insurance Company,
Civil No. 6:17-CV-00050-ADA, 2018 WL 11347194 (W.D. Tex. Oct. 16, 2018) ...................... 43

Vega v. Nat’l Life Ins. Servs., Inc., 188 F.3d 287 (5th Cir. 1999) ................................................ 46

Weisner v. Liberty Life Assurance Company of Boston,
192 F. Supp. 3d 601 (D. Md. 2016) .............................................................................................. 44

Wildbur v. ARCO Chemical Company, 974 F.2d 631 (5th Cir. 1992) ......................................... 54

Statutes

29 U.S.C. § 1132(a)(1)(B) ...................................................................................................... 47, 62

29 U.S.C. § 1132(a)(3) .................................................................................................................. 47

29 U.S.C. § 1132(2) ...................................................................................................................... 47

29 U.S.C. § 1133 ..................................................................................................................... 62, 63




                                                                    vii
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                                              Page 8 of 73 PageID 29291



Regulations

29 CFR § 2520.104(b)—1(b)(1) ................................................................................................... 26

29 CFR § 2560.503-1(b) ......................................................................................................... 33, 54

29 CFR § 2560.503-1(d) ............................................................................................................... 33

29 CFR § 2560.503-1(f) .......................................................................................................... 14, 21

29 CFR § 2560.503-1(g) ............................................................... 13, 18, 22, 26, 27, 38, 39, 49, 50

29 CFR § 2560.503-1(h) ............................................................................................................... 61

29 CFR § 2560.503-1(j) ...................................................................... 18, 22, 37, 38, 39, 40, 49, 50

Rules

Fed. R. Civ. P. 52(a) ..................................................................................................................... 43




                                                                    viii
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                      Page 9 of 73 PageID 29292



                                            INTRODUCTION

        Michael Cloud’s (“Cloud”) National Football League (“NFL”) career concluded at the end

of the 2005 NFL season (in January 2006) due to disability arising out of the cumulative effects of

five (5) NFL career concussions and other injuries, rendering him totally and permanently disabled

shorty thereafter. Cloud sought assistance from The Bert Bell/Pete Rozelle NFL Retirement Plan

(“Defendant”), to secure benefits under the Plan document, as amended and restated in April 1,

2014 (“Plan”), which includes disability benefits available to former players under various

categories and amounts of monthly payments. Defendant denied Cloud the full benefits to which

he is entitled. In May 2020, Cloud sued. A review of the administrative record (“AR”), inclusive

of depositions of Defendant’s corporate representative and members of its Disability Initial Claims

Committee (“Committee”) and Retirement Board (“Board”), and additional documents produced

in this proceeding, 1 all reveal Defendant’s violation of the Plan and ERISA.

        Nonetheless, Defendant filed a Motion for Summary Judgment on the Administrative

Record and Brief in Support [Dkt. 161, 162] (“Motion”) (an improper motion to file under the

facts in this case) 2 and asks this Honorable Court to enter summary judgment finding that

Defendant did not abuse its discretion in denying the benefits sought by Cloud. Defendant argues

Cloud’s claims are meritless and contends the Board’s decision had three independent bases for

denying his request for reclassification – even though the Board, in substance, did not even make

the decision itself. Motion at 1. First, Defendant argues Cloud missed the 180-day deadline to file


1
  All citations to evidence in this Response are to the following: (1) the AR originally filed by Defendant
on January 5, 2021 [Dkt. 16] (cited herein in the form Dkt. 16 at CLOUD-AR-[X], (2) all additional
materials supplemented to the AR by Orders of this Honorable Court and included in Cloud’s Motion for
Judgment and Brief [Dkt. 155, 156] via its appendix [Dkt. 160, 164-167] (cited herein in the form App.[X],
and (3) the materials attached to Defendant’s Motion and Brief [Dkt. 161, 162] via its appendix [Dkt. 163]
(cited herein in the form Plan.App.[X].
2
  A motion for summary judgment under FRCP 56 is unavailable where de novo is the proper standard of
review. See discussion, infra at 43-44.
                                                    1
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                      Page 10 of 73 PageID 29293



his administrative appeal, but the AR does not factually support that position and the Board did

not adopt that position – it was generated only by Groom and other lawyers. 3 Second, Defendant

argues Cloud failed to meet the changed-circumstances requirement, which has only been defined

by Groom (inconsistently) and, irrespective of which definition is used, Cloud met them all.4

Third, Defendant argues Cloud did not qualify for Active Football benefits because he did not

meet the Plan’s “shortly after” provision, but that provision does not apply and, even if it did,

Defendant made no effort to identify when Cloud’s T&P Disability arose and it is indisputable that

it occurred within the “shortly after” time period. 5 Defendant argues “Cloud has side-tracked this

lawsuit onto everything but the actual decision and the Administrative Record”, Motion at 2, an

AR from which Defendant withheld key records for over a year during this litigation.6 Defendant

also complains that Cloud has portrayed it as a component of an NFL monolith and accused it, the

NFL Players Association (“NFLPA”), and others of misleading Cloud about his benefits,

withholding records, not locating medical records for him from an NFL “EMR” repository, and

discriminating against him based on his race – all of which is supported by the evidence and

uncontroverted by Defendant. 7 Id. Finally, inextricably intertwined in those facts is the

relationship between Defendant and its counsel Groom Law Group (“Groom”), which Defendant

affirmatively raises in its Motion. Motion at 2. Defendant argues Cloud’s various characterizations

of the Board as a “puppet” of Groom are “conspiracy theories [that] have no basis in reality” and

are “conjured fantasy, not fact.” Id. at 2-3. Defendant implies Cloud’s characterization is a


3
  Id. at 1; see discussion, infra at 29-30, 40.
4
  Id. at 1; see discussion, infra at 39-40, 49-54.
5
  Id. at 1; see discussion, infra at 57-61.
6
  See discussion, infra at 42 n. 254, 48 n. 283, 63.
7
  Such evidence is addressed later in this Response, but generally includes the NFL funding the Plan and
its lawyers participating in negotiating and deciding disability claims, lawyers negotiating decisions, the
PBO misleading Cloud as to benefits, Defendant withholding records, and arguing that testing of Cloud’s
cognitive impairments should be “race-normed” [see Dkt. 174 at 23-25 for response on this latter issue].
                                                    2
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 11 of 73 PageID 29294



litigation tactic and neither Cloud nor his prior attorneys raised “such serious charges during the

years-long administrative process.” 8 Id. at 3. A review of expedited denials of Cloud’s

applications, history of Groom’s role within Defendant, 9 and content of the initial AR filed by

Defendant presented sufficient evidence for those allegations. Now, after forcing Defendant to pull

back the curtain and produce more of the AR, the evidence is overwhelming.

        The Board’s decision should be reviewed de novo or, in the alternative, reversed under an

abuse-of-discretion standard of review. Among its fatal errors, Defendant’s interpretation of the

Plan was unreasonable and wildly inconsistent in this and other cases, as it has been for over a

decade in all requests for reclassification by former players; it never referred Cloud for medical

examination or involved Cloud in a “full and fair review” on appeal; and its findings were either

omitted from its decision letters and internal records, nonexistent due to a failure to review the AR

(instead performed by Groom and other lawyers), or ginned up during and for purposes of this

litigation. Defendant did not just abuse its discretion in denying Cloud’s additional benefits; it

knowingly violated the Plan and ERISA in material respects, including on issues for which it has

been placed on prior notice by federal courts in other cases. 10 For the reasons set forth herein, this

Honorable Court should deny the Motion in all respects.


8
  Defendant argues Cloud “estimated that nine separate lawyers worked with him to secure disability and
related benefits over the years[,]” which is a misstatement. Groom’s question: “how many lawyers would
you say you have had that have worked for you related to your disability benefits claims? And I’m lumping
in workers’ comp, SS – you know, Social Security Administration, this lawsuit, all of that.” App.1062 at
285:17-25. Nothing in the AR supports the implication any of the 9 lawyers assisted him with the Plan.
9
   Well before this case, Defendant has demonstrated a course of conduct that violates both the Plan and
ERISA and, in each instance, has refused to modify its deviations from the law – perhaps even escalating
them. See, e.g., Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 855 Fed. Appx. 332 (9th Cir. Aug.
10 2021); Dimry v. Bert Bell/Pete Rozelle NFL Player Retirement Plan, 487 F. Supp. 3d 807 (N.D. Cal.
2020); Keys v. Bert Bell/Pete Rozelle NFL Player Retirement Plan, 493 F. Supp. 3d 1147 (M.D. Fla. 2020);
Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, No. 16-CV-01413-JD, 2018 WL 1258147 (N.D.
Cal. Mar. 12, 2018); Giles v. Bell/Pete Rozelle NFL Player Ret. Plan, 925 F.Supp.2d 700, 714, 721-22
(D.Md. 2013); Jani v. Bell, 209 Fed. Appx. 305 (4th Cir. 2006); Jani v. Bert Bell/Pete Rozelle NFL Player
Ret. Plan, No. 04-1606, 2005 U.S. Dist. LEXIS 10150, 2005 WL 1115250 (D. Md. April 26, 2005).
10
   See, e.g., supra at n. 9.
                                                   3
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                  Page 12 of 73 PageID 29295



                                     FACTUAL BACKGROUND

       In the interest of brevity (in a relative sense), Cloud presents the following summary of

various pertinent facts, but also refers this Honorable Court to his own Motion for Judgment and

Brief in Support. [Dkt. 155, 156].

I.     Cloud’s NFL Career and Related NFL Brain Injuries.

       Cloud grew up in Portsmouth, Rhode Island, played football at Boston College and

graduated with a degree in socioeconomics. In 1999, Cloud was a 2nd round draft pick. Cloud

ultimately played in the NFL for 7 years primarily as a running back for 3 teams: Kansas City

Chiefs (’99-’02), New England Patriots (’03, ’05), and the New York Giants (’04, ’05). It is

commonly known that running backs and linebackers take the most hits in the NFL. 11 In 1999 and

2000, Cloud suffered three (3) concussions while playing of Kansas City Chiefs. 12 On October 31,

2004, while playing for the Giants, a defensive back caused a high-speed helmet-to-helmet

collision resulting in Cloud being concussed (“2004 Concussion”). 13 After the game, the Giants

presented Cloud for an interview, which he could not recall taking place – an absence of memory

he had never before experienced. 14 Cloud later submitted to post-game examination in relation to

a continuing “study” by the NFL MTBI committee (“MTBI Exams”). 15 Related notes in a follow-

up evaluation indicate Cloud was to receive a November 2, 2004 “Neurpsych Exam”, but no such

exam took place. 16 Despite the 2004 Concussion and Cloud’s reports of headaches, dizziness, and

vertigo, he was cleared to return to football just 48 hours later. In the following months, Cloud




11
   App.691 (120:25-121:2).
12
   App.813-20 (36:14-37:24, 39:11-40:10, 42:23-43:12).
13
   App.828-29 (51:2-52:14), App.5741-42 (step-by-step review of the play causing the 2004 Concussion).
14
   App.865-68 (88:18 – 91:7).
15
   Dkt. 16 at CLOUD-AR-391-392; App.859-70 (82:18 – 83:22); App.869-71 (92:20 – 94:9).
16
   App.5742-43; see also Dkt. 16 at CLOUD-AR-391 (stating “Neuropysch Exam” in “48 hrs. post-injury”).
                                                  4
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                  Page 13 of 73 PageID 29296



could not remember basic plays, football schemes, or his related duties. 17 In 2005, Cloud initially

returned to play for the Giants. After the preseason, in early September 2005, the Giants released

Cloud. 18 In early November 2005, the Patriots signed Cloud to play in a handful of games, and

Cloud sustained yet another concussion 19 in a game against the Indianapolis Colts (the foregoing

cumulative orthopedic and neurologic injuries resulting in Cloud’s disability, the “Cloud

Disabilities”), and was administered an ImPACT neurological exam (designed by the NFL MTBI

Committee). 20 Cloud was released, but signed by the Giants for the end of the 2005 NFL season.21

II.        Defendant Violates Cloud’s Rights Under the Plan and ERISA (2009, 2014 and 2016).

           After being released by the Giants in January 2006 due to the Cloud Disabilities, Cloud

tried to be a personal trainer, a California State Trooper, and a sportscaster, but experienced

extensive difficulties related to his orthopedic and neurological injuries and was unable to work.22

By no later than March 30, 2006, the Cloud Disabilities arising out of his participation in NFL

football games had rendered him totally and permanently disabled (“Cloud T&P Disabilities”). 23

However, like many NFL players, Cloud knew very little about the benefits available to him and

reached out to Defendant for help before, during, after various applications from 2009-2016. 24

      A.      The Plan Personnel, Structure, and Terms.

           The PBO. The day-to-day administration of the Plan occurs at the Plan Benefits Office

(“PBO”) in Baltimore, Maryland. 25 Since September 2013, the PBO has been headed by Plan


17
   App.6032-35 (15:4 – 18:17), App.6096-97 (79:3 – 80:8); App.6276-77 (217:21 – 218:13).
18
   App.4591-92; App.904-08 (127:12 – 131:10); App.86 (335:16-18) (“I agree with you that he was cut as
a result of his not being able to remember plays.”)
19
   App.992-94 (215:21-217:22).
20
   App.992-94 (215:21-217:22).
21
   App.909-16 (132:5 – 139:20), App.921-34 (144:7 – 157:25), App.1041-42 (264:17 – 265:4).
22
   App.974 (197:18-23); App.999-1006 (222:12 – 227:17); App.1160-61 (57:24 – 58:16).
23
   App.1042 (265:13-24); App.5744; see further discussion, infra at 19, 20, 62.
24
   App.916-17 (139:21 – 140:14); App.1153 (27:1-15); Dkt. 9 at 3, n. 1.
25
   App.408 (286:18-21).
                                                  5
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 14 of 73 PageID 29297



Director Michael Miller (“Miller”) and has about 20 employees, including benefits coordinators

Paul Scott (“Scott”) who coordinated Cloud’s 2009 application, Elton Banks (“Banks”) who

coordinated Cloud’s 2014 application, Sam Vincent (“Vincent”) who coordinated Cloud’s 2016

application, and Elise Richard (“Richard”) coordinated Cloud’s 2016 Appeal. 26

        The Committee. The NFL and NFLPA play roles in deciding applications through their

designees, whom are appointed to the Committee to make initial claims decisions. 27 During almost

all applicable time periods in this case, the two Committee members were Patrick Reynolds

(“Reynolds”) (appointed by the NFL’s Management Council (“Management Council”)) 28 and

Christophine “Chris” Smith (“Ms. Smith”) (appointed by NFLPA). 29 A third Committee member

votes in certain cases and is the Plan’s Medical Director, a position held by Stephen Haas, M.D.

(“Haas”) during the 2009 Application and 2010 Appeal (Allen Jackson, M.D. at all times

thereafter). 30 The Committee maintains fiduciary duties to act “solely and exclusively in the

interest of the Players”…“with the care, skill, prudence, and diligence under the circumstances

then prevailing that a prudent man acting in a like capacity and familiar with such matters would

use in the conduct of an enterprise of like character and with like aims.” 31 (“Fiduciary Duties”).

        The Board. The NFL and NFLPA also play roles in deciding applications through




26
   App.15-16 (53:17 – 54:5); App.208 (184:21-22); App.245 (330:3-21); App.394 (232:18-22, 233:13-16),
App.406 (280:5-6, 281:7-10), App.428-29 (369:22 – 370:4), App.437 (404:12 – 405:2).
27
   App.16 (55:12-21).
28
   Reynolds was appointed as Committee member in 2013. App.183 (83:17 – 85:10), App.184 (87:1-13),
App.191-92 (114:17 –115:7, 117:17 – 118:4, 119:8-17, 121:12-21). In addition, from 2009 through 2016,
Reynolds also was employed by the NFL in relation to player benefits and, in that capacity, acknowledged
he owed a duty to advise Cloud of the benefits available to him. App.178 (63:12-17), App.179 (66:16 –
68:10), App.180 (72:12-19), App.204 (167:17 – 168:2).
29
   App.191 (115:4-13). Ms. Smith has been a Committee member since its inception in 2006. App.9 (26:11-
18), App.39 (146:4-6, 147:5 – 148:2). In addition, Ms. Smith is the NFLPA assistant director of benefits,
and paid only in that capacity. App.5 (11:14-16, 13:1-15), App.12 (41:8-14), App.23 (84:4-6).
30
   App.191 (115:14 – 117:16).
31
   Dkt. 16 at CLOUD-AR-052 at § 8.8.
                                                   6
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 15 of 73 PageID 29298



designees, whom are appointed to the Board to hears appeals. 32 The Board is the Plan’s named

fiduciary. The 6 voting Board members at the time of the 2016 Appeal were Katie Blackburn, Ted

Phillips, and Dick Cass (“Cass”) (appointed by Management Council), and Sam McCullum, Jeff

Van Note, and Robert Smith (“Mr. Smith”) (appointed by NFLPA). 33 Cass was a Board member

from 2006 to late 2017. 34 Cass is a lawyer (received law degree in 1971) and was the president of

the Baltimore Ravens. 35 Mr. Smith was a Board member since the NFLPA appointed him in

2010. 36 He played running back at Ohio State, and in the NFL from 1993-2000 until he retired due

to injury concerns. 37 As with the Committee, the Board members owe the same Fiduciary Duties

to former players such as Cloud.38

        The Advisors. The members of the Committee and Board are guided by counsel to their

respective designating parties – Management Council’s lawyer Belinda Lerner (“Lerner”), and

the NFLPA’s lawyer Bethany Marshall (“Marshall”). 39 Marshall also serves as NFLPA assistant

director of benefits and, in that capacity, along with NFLPA’s Director Miki Yaras-Davis

(“Davis”), supervises Committee member Ms. Smith. 40 Groom drafted the Plan document, but

also advises the Committee and Board on Plan interpretation and handling player applications,

represents the PBO in administration of the Plan, and represents Defendant in litigation, including

here. 41 Defendant approves payments to all these advisors, and recognizes Groom’s fees increase


32
   App.16 (55:12-21).
33
   App.198-99 (143:21 – 144:3, 145:18 – 146:3); App.44-45 (169:5 – 170:6); App.521 (22:5 – 23:1).
34
   App.517 (7:19-24), App.521 (22:5-9), App.527 (49:14-18).
35
   App.529-30 (56:3 – 58:4).
36
   App.665 (14:19-22), App.677 (62:20 – 63:21).
37
   App.689 (111:22-25), App.691 (119:10-14, 120:23-24, 120:5-22).
38
   Dkt. 16 at CLOUD-AR-052 at § 8.8.
39
   App.182 (78:10-13), App.192 (119:14 – 120:6); App.17-19 (58:7 – 67:8); App.46 (175:9-14, 176:8 –
177:10). As NFLPA assistant director of benefits, Bethany Marshall is also Ms. Smith’s supervisor. App.26
(95:2-14).
40
   App.26 (95:2-14).
41
   App.384 (191:11-14); App.171 (35:10 – 36:6), App.184 (86:11-22); App.185-86 (92:17 – 95:9); App.194
(128:13 – 129:13), App.196 (137:7-18), App.200 (150:10 – 151:1), App.205 (172:5-22).
                                                   7
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                  Page 16 of 73 PageID 29299



when its advice to the PBO, Committee, and Board result in litigation against Defendant. 42

       Plan Disability Categories. Under Articles 5 and 6 of the Plan, disability benefits cover

(1) permanent substantial disablement arising out of an NFL career (“LOD Disability”) under line

of duty benefits (“LOD Benefits”), 43 and (2) total and permanent disabilities (“T&P Disability”)

in one of four classifications (pertinent ones discussed below): Active Football, Active

Nonfootball, Inactive A, and Inactive B (these 4 referred to as “Classification(s)”, and payments

under any Classification referred to as “T&P Benefits”). 44 Under Article 5 of the Plan, as to T&P

Benefits, the Board/Committee must first determine existence of a T&P Disability and, if found,

then determine the appropriate Classification. 45 Under Section 5.2 of the Plan, there are two ways

to qualify as having a T&P Disability: (1) the Board/Committee finds the player is substantially

unable to be employed and such condition is permanent, or (2) the Social Security Administration

(“SSA”) has determined the player is eligible for disability benefits (but SSA determinations as to

timing and causation are not binding on the Board/Committee) 46 (“Two Grounds for T&P

Disability”). In either case, the Board/Committee may require players to submit to neutral

physician examination(s) and provide additional information, and in such cases players may

submit medical records or other materials for consideration by the neutral physician. 47 After

qualifying with a T&P Disability, the two relevant Classifications in this case are “Active Football”

where a T&P Disability arises “shortly after” (i.e., within 12 months after) (“Shortly After”) the

initial disability that arose from participation in the NFL (“Active Football”), and “Inactive A”

for applications filed within 15 years after retirement irrespective of whether the T&P Disability


42
   App.540-41 (100:2 – 102:14).
43
   Dkt. 16 at CLOUD-AR-040, 042 at §§ 6.1, 6.4.
44
   Id. at CLOUD-AR-032 at § 5.3.
45
   Id. at CLOUD-AR-030 at §§ 5.1, 5.2.
46
   Id. at CLOUD-AR-030-031 at § 5.2; Id. at CLOUD-AR-036 at § 5.7(a).
47
   Id. at CLOUD-AR-031 at § 5.2(c).
                                                 8
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                      Page 17 of 73 PageID 29300



arises out of an NFL career (“Inactive A”). 48

        Disability Payments and Source of Funding. Active Football pays T&P Benefits of

approximately $265,000/year, which only about 30 former players currently receive, and Inactive

A pays T&P Benefits of approximately $135,000/year, which over 1,000 former players currently

receive. 49 In one month, September 2016, the Plan paid only $396,712 in Active Football and

$5,602,110 for Inactive A. 50 The Plan is funded on a “pay as it goes” basis from a “close-ended”

portion of the total NFL revenue pool that represents “player costs” (composed of player salaries

and benefits). 51 Actuaries project the next year’s disability payments, subtract it from projected

total player costs, and the remainder is the salary cap for current players (a subset of player costs). 52

The NFL annually reviews the amount paid out and any increase reduces next year’s salary cap. 53

Consequently, current players benefit by reduced disability payments to retired players, 54 which is

consistent with the NFLPA’s contention that it does not represent interests of retired players. 55

NFLPA technically does not represent interests of retired players, but does so “philosophically.” 56

        Application Deadlines. There is no deadline to seek T&P Benefits, 57 but there is a filing

deadline to obtain Inactive A (15 years after last season) (“Inactive A 15Y Deadline”) and


48
   Id. at CLOUD-AR-032 at § 5.3(a), (c), and (e); Section 5.3(e) of the Plan defines “shortly after” to be
conclusive if the T&P Disability arises within 6 months of the initial disability, and is subject to
determination by the Board/Committee if it arises within 6-12 months of the initial disability. It is
conclusively deemed not “shortly after” if the T&P Disability arises more than 12 months after the initial
disability. Id. at CLOUD-AR-032 at § 5.3(a).
49
   App.538 (92:19 – 93:14).
50
   App.715-16 (217:9 – 218:3).
51
   App.209 (188:11 – 189:6); App.15 (51:9 – 52:1); App.536-38 (83:7-8, 84:4 – 85:1, 86:17, 90:8-10).
52
   App.537 (86:17 – 88:6).
53
   App.537 (88:12 – 89:11).
54
   App.538 (91:11-14).
55
   App.540 (98:23 – 99:20).
56
   App.694-96 (133:11 – 139:10). Retired players on NFLPA are non-voting members. App.695 (136:21-
23). Despite public comments indicating that the NFLPA “owes a fiduciary duty to retired players”, the
NFLPA has long argued that it owes no fiduciary duty to retired players like Cloud. Eller v. Nat’l Football
League Players Ass’n, 872 F. Supp. 2d 823, 832-34 (D. Minn. 2012); see also App.695-96 (136:24 – 138:5).
57
   App.227 (258:7-19).
                                                    9
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                          Page 18 of 73 PageID 29301



conclusive presumptions as to determination of timing of a T&P Disability in two situations: (1)

under Section 5.3(e) of the Plan if a player develops a T&P Disability within 6 months of an initial

disability that arose from participation in the NFL then he is “conclusively deemed” to meet the

Shortly After standard for Active Football 58 (“Conclusively Deemed Shorty After”); and (2)

under general Section 5.7(a) of the Plan, for initial Classifications of a T&P Disability, the player

is “conclusively presumed” to not have had the T&P Disability more than 42 months prior to the

initial application 59 (together, the “Conclusive Presumption”).

        Reclassifications. Section 5.7(b) of the Plan allows a player to seek “reclassification” of

his existing T&P Benefits (i.e., seek increased monthly payments) (“Reclassification”) if he shows

“clear and convincing evidence that, because of ‘changed circumstances,’ the player satisfies the

conditions of eligibility for a benefit under a different [Classification] of T&P [B]enefits”60

(“Changed Circumstances”). Reclassification does not include the Conclusive Presumption

expressly as to initial applications. Instead, Reclassification T&P Benefits payments will not be

retroactively increased and payable more than 42 months prior to the request for Reclassification 61

(“Reclassification Limit on Retroactive Payments”).

        Special Rules. Under Sections 5.3 and 5.4 of the Plan, Classification of T&P Benefits is

subject to “Special Rules” under Section 5.4(b) for psychological/psychiatric disorders (“Psych



58
   Dkt. 16 at CLOUD-AR-032 at § 5.3(e). The opposite is true if the T&P Disability arises more than 12
months later, in which case the player is “conclusively deemed” to not meet the Shortly After standard.
59
   Dkt. 16 at CLOUD-AR-036 at § 5.7(a). Naturally, where the specific “conclusively deemed” conflicts
with the general “conclusively presumed” then the former should control. See Claimant ID 100218776 v.
BP Expl. & Prod., Inc., 712 F. App’x 372, 375 (5th Cir. 2017) (per curiam) (“where a general provision
and a narrow, specific provision overlap and the specific provision fits the facts at hand, the specific
provision controls”).
60
   Dkt. 16 at CLOUD-AR-037 at § 5.7(b).
61
   “T&P benefits” refers to the payment made and received for any T&P Disability. See Dkt. 16 at CLOUD-
AR-030 [5.1], 031 [5.2(b), (c), and (d)], 032 [5.2(e) and 5.3(c)], 033 [5.4(a) and (b), and 5.5 and 5.5(b)],
034 [5.5(d), (e), and (g)(1)], 035 [5.5(g)(2), 5.5(h), 5.6, 5.6(a)], 036 [5.6(a) and (b), and 5.7(a)], 037 [5.7(b)
and (c), and 5.8], 038 [5.9, 5.10(a), (b), (d), and (f)], 039 [5.11], 040 [6.2], 042 [6.5].
                                                       10
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                        Page 19 of 73 PageID 29302



Disorders”). 62 T&P Benefits are payable under Active Football for Psych Disorders if the player

satisfies either of the Two Grounds for T&P Disability and the Psych Disorder relates to one of

the following (1) head injury(ies) sustained while playing in the NFL (e.g., repetitive concussions),

(2) physician prescribed substances to treat NFL injuries, or (3) an injury that satisfies the

requirements of Section 5.3(a) (Active Football). Thus, Psych Disorders may receive

Classification of Active Football by meeting the express terms of Section 5.3(a), or by simply

showing the Psych Disorders involve a T&P Disability related to head injuries (like repetitive

concussions) sustained while playing in the NFL (“Active Football for NFL Brain Injuries”).

     B.      Cloud Unsuccessfully Requests Medical Records and Assistance from Defendant.

          In 2006, 63 Cloud contacted the NFLPA to discuss availability of disability benefits and his

medical records, who directed him to Defendant, and Cloud did so but received only a 10 page

“Medical Summary” of orthopedic injuries (without corresponding medical records) (“Medical

Summary”), 64 no medical records, and no documents of any kind regarding neurological injuries

(including concussions) – including the 2004 Concussion. 65 The original version (secured over a

decade later in this proceeding) contains 11 pages. 66 The missing page covers most of Cloud’s


62
   Dkt. 16 at CLOUD-AR-033 at § 5.4. The Special Rules also apply to substance abuse issues (“Substance
Abuse Disorders”). See id. at § 5.4(a). Each of Classifications 5.3(a), (b), and (c) expressly state they are
“[s]ubject to the special rules of Section 5.4[.]” (Section 5.2(d) is just a catch-all Classification). See id.
Likewise, general Conclusive Presumption in Section 5.7(a) expressly applies to Section 5.3, which yields
to Section 5.4. See Dkt. 16 at CLOUD-AR-032-033 at §§ 5.3(a)-(c), (e), 5.7(a). While Substance Abuse
Disorders maintain an application deadline of 8 years, there is no corresponding deadline for Psych
Disorders, which “appl[ies] regardless of when a claim for benefits is made or awarded.” App.5497.
63
   In 2006, the CBA was extended and became effective until the last day of the 2012 league year.
64
   Defendant argues the PBO did not prepare the Medical Summary and has no record of preparing or giving
it to Cloud. Motion at 13, n. 15. Defendant relies entirely on Vincent’s recent Declaration wherein he
declares the PBO “did not prepare that medical summary.” Id.; Motion, App.101. Vincent does not state
how he knows this. The Medical Summary ends as of January 9, 2006, so it could have been prepared at
any time thereafter and the PBO provided it to Cloud sometime that year. Vincent did not begin working
for the PBO until two years later in July 2008. App.406 at 279:9-10. Vincent’s deposition testimony makes
it clear that he has no idea who prepared the Medical Summary. App.406 at 278:5-22.
65
   App.939-41 (162:2 – 164:22); Dkt. 16 at CLOUD-AR-183-192.
66
   App.3087-96.
                                                      11
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                     Page 20 of 73 PageID 29303



career in 2004, including the 2004 Concussion and after effects. 67 Cloud continued his frustrated

efforts to obtain his records and the NFLPA and PBO referred him to each other for his records. 68

     C.      Defendant Advises Cloud he is Ineligible for T&P Benefits, to Instead Seek LOD
             Benefits, Cloud Complies (2009 Application), and Defendant Promptly Denies.

          In 2007, Cloud fell behind on his Rhode Island home mortgage payments and both he and

his lender sought information from Defendant to explore available benefits, access 401(k), and

facilitate loan modification, but Defendant remained nonresponsive. 69 Finally, on January 7, 2008,

and the NFLPA sent Cloud a letter advising him to contact its Benefits Department regarding a

severance payout and “so we may assist you in filing a Line of Duty application and refer you to

a Workers Compensation Attorney” (emphasis added), Cloud spoke with the PBO (Gaunt and

Scott) who again advised him he did not qualify for T&P Benefits and to apply for LOD Benefits

and worker’s compensation, 70 and the NFLPA referred Cloud to a lawyer on its worker’s

compensation      panel   –    Walter    J.   Korzeniowski      (“Korzeniowski”) 71      (“Defendant’s

Instructions”). 72 At least one Board member is aware of the PBO’s alleged practice of steering




67
   App.3095; App.945-46 (168:17 – 169:1).
68
   App.916-17 (139:21 – 140:14), App.946-47 (169:2 – 170:24).
69
   App.917-19 (140:2 – 142:7). Throughout 2008, after failed efforts by Cloud and his bank to gain
information from the NFLPA and PBO, Cloud sold much of his home furnishing, audio-visual equipment,
and related assets in order to avoid foreclosure, but he ultimately lost his home. App.917-18 (140:2 –
141:14), App.1004 (227:17-24). Thereafter, Cloud temporarily stayed in a property owned by another
recently retired NFL player located in Hermosa Beach, California. In September 2008, the lender sued
Cloud for a $431,832 deficiency, obtained a default judgment, and sought to recover against Cloud’s NFL
benefits. App.918 (141:5-14).
70
   In fact, the NFLPA (Scott) advised Cloud that his records showed no physical injuries, thereby
disqualifying him from T&P Benefits (even though Cloud had no records to verify same). App.920-21
(143:15 – 144:1).
71
   The NFLPA’s instructions and advice of Korzeniowski resulted in Cloud seeking worker’s compensation
benefits against his three teams in three different States with Korzeniowski and attorneys Ronald Feenberg
(“Feenberg”) in California and James Waldhauser (“Waldhauser”) in Minnesota. App.811-13 (34:3 –
36:13).
72
   App.810-11 (33:18 – 34:12), App.919-21 (142:8 – 144:1), App.936-37 (159:6 – 160:24); App.1155
(36:25 – 37:7).
                                                   12
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                   Page 21 of 73 PageID 29304



former players to apply for LOD Benefits rather than T&P Benefits. 73 During this time period,

after failed efforts by Cloud and his bank to gain information from the NFLPA and PBO, Cloud

sold much of his home furnishing, audio-visual equipment, and related assets in order to avoid

foreclosure (“Sale of Personal Effects”), but he ultimately lost his home, 74 and in September

2008, the lender sued Cloud for a $431,832 deficiency, obtained a default judgment, and sought to

recover against Cloud’s NFL benefits. 75 Korzeniowski continued to seek Cloud’s medical records

from the Chiefs, Patriots, and Giants (with little success). On October 9, 2008, the Chiefs sent

Korzeniowski various medical records for Cloud. In January 2009, Korzeniowski communicated

with the Giants about his outstanding requests for medical and other records, and the Giants finally

responded with an incomplete production of documents. Defendant omits all of the above from its

Motion and, instead, represents that “[t]wo and one-half years after his NFL career ended, Cloud

called the []PBO to request a disability application (on August 28, 2008). Motion at 11. It is notable

that the PBO letter Defendant references in its Motion includes the promise: “The [PBO] will

notify you when it receives your application form and will advise you whether any additional

information is required in connection with your application.” 76 Id. at 11 (emphasis added).

       Several months later, in April 2009, Cloud filed his application for LOD Benefits (“2009

Application”). 77 Defendant notes Cloud “applied for LOD benefits exclusively”, Motion at 12,

but Defendant omits that it instructed him to do so. The following month, Cloud began dating

future wife Jennifer Cloud (“Jennifer”), 78 and thereafter moved to be with her in Dallas, Texas.


73
   App.706 (178:14 – 180:15).
74
   App.917-18 at 140:2 – 141:14; App.1004 at 227:17-24.
75
   Cloud1142-45.
76
   Required by 29 CFR § 2560.503-1(g)(1)(3).
77
   App.3080-97.
78
   App.1150 (14:4-8), App.1153 (26:6-17). Cloud and Jennifer previously knew each other for years and
eventually would marry in July 2011, but would divorce in March/April 2021. App.1149-50 (13:5-17, 14:4-
8).
                                                  13
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                     Page 22 of 73 PageID 29305



On June 12 and 17, 2009, Defendant referred Cloud to 2 neutral physicians in California who

“may request further diagnostic testing” – orthopedist Bert Mandelbaum, M.D.

(“Mandelbaum”) and neurologist Dr. Jonathan Schleimer (“Schleimer”). 79 Cloud rescheduled

Schleimer to July 27 due to short notice and travel distance. 80

        On July 9 2009, 81 the Committee extended its 45-day decision deadline (July 26 to August

25), tabled the 2009 Application pending neutral physician reports, and advised Cloud of same via

letter to Dallas, Texas. 82 The next week, Cloud traveled to see orthopedist Mandelbaum, who

found a qualifying impairment rating (33%). 83 On July 21, 2009, Defendant incorrectly advised

Cloud the rescheduled Schleimer appointment was outside the 45-day deadline (previously

extended to August 25), and advised “the Plan will not process your application for disability

benefits further until you attend the neutral physician examination.” 84 Defendant would not

communicate with Cloud again. When Cloud was unable to attend the July 27 appointment in

California, Defendant internally noted Cloud’s “case will be presented without neuro report.”85

No corresponding notice was sent to Cloud.

        Mandelbaum provided his August 1, 2009 qualifying report to Defendant (“Mandelbaum

Report”). 86 The Committee did not grant LOD Benefits within its 30-day extension (August 25). 87

Instead, the PBO unilaterally (and without notice to Cloud) sent Mandelbaum an August 21, 2009


79
   App.3076-78; App.393-94 (229:15 – 230:3).
80
   App.3072.
81
   In July 2009, the NFLPA sent all players a memo regarding its disputes with the NFL: “we will prepare
to defend the rights of our players—both current and former—by asking tough questions, … [t]his union
has worked for over 50 years to get to where the players have both free agency and a guaranteed percentage
(60%) of league revenues.” App.4389.
82
   App.3054, 3073-74; Pursuant to 29 CFR § 2560.503-1(f)(3) and Dkt. 16 at CLOUD-AR-060 at § 12.6(a)
(“Claims Procedures”).
83
   App.2564-76 (at 2576).
84
   App.3072 (emphases added).
85
   App.3775.
86
   App.2564-76 (at 2576); App.947 (170:20-25).
87
   App.3052, 3073.
                                                   14
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                   Page 23 of 73 PageID 29306



memo requesting him to change the Mandelbaum Report. 88 Defendant has admitted the PBO

participates in decisions this way, but denies any knowledge of it resulting in denial of benefits.89

Mandelbaum sent the PBO a revised version of his report, which only changed impairment

numbers from qualifying WPI (33%) to WPI (24%) – one percent below the qualifying threshold

of WPI (25%) (“Revised Mandelbaum Report”), and Defendant withheld the original

Mandelbaum Report from Cloud and the Committee. 90 Defendant never made any effort to

reschedule a neurological exam for Cloud anywhere near the State in which he lived and failed to

“advise [Cloud] whether any additional information is required in connection with [his]

application.” See Motion at 11 (PBO letter quoted therein). On September 24, 2009, the PBO

delivered the Revised Mandelbaum Report to the Committee, which relied entirely on it as stated

in its denial letter of the same day (“2009 Decision Letter”):

          [Y]ou do not have a substantial disablement within the meaning of Plan section 6.4.
          Specifically, the Committee noted that Plan neutral physician, Bert Mandelbaum,
          M.D., rated the loss of use of your entire upper extremity at 15%, your entire lower
          extremity at 35%, and your combined whole-body impairment at 24%. 91

Three weeks later, Groom circulated draft Committee minutes, which reflected the meeting was

attended by Scott and several Groom lawyers, “[a]ll present could hear each other and be heard[,]”

and Cloud’s 2009 Application was denied for “failure to meet qualifying percentages of [the]

Plan[.]” 92 In its Motion, Defendant omits all of the above material facts. See id. at 13-14.

     D.      Cloud Appeals Denial of 2009 Application, and Defendant Ignores Physician
             Recommendation for Brain Studies and Grants LOD Benefits.

          On February 2, 2010, in the midst of the NFL’s concussion scandal, Cloud appealed the



88
   App.3059-61.
89
   App.547 (128:25 – 130:9).
90
   App.2564-76 (at 2575); App.947 (170:20-25), 960 (183:2-9), 1065 (288:14-25), 1072 (295:3-11).
91
   App.3050-51.
92
   App.8190-95.
                                                  15
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                 Page 24 of 73 PageID 29307



denial of his 2009 Application by short 1-page letter (“2009 Appeal”). 93 On March 10, 2010,

Defendant directed Cloud to travel 1,100 miles from Dallas, Texas to St. Petersburg, Florida

(Tampa Bay area) to see neutral physicians who “may request further diagnostic testing” –

George Canizares, M.D. (orthopaedist) (“Canizares”) and Adam S. DiDio, M.D. (neurologist)

(“DiDio”), and advised “[y]our medical records and application have been sent to the above

physician[s.]” 94 On April 13, 2010, Cloud flew to Tampa, Florida, where Canizares determined a

qualifying score (as with the first Mandelbaum Report) and noted a medical history of “some

concussions” and “depression, migraine headaches, [and] insomnia[.]” (“Canizares Report”). 95

On the same day, Cloud saw DiDio who wrote “See narrative please” on the examination form

provided by Defendant (which includes no fields to input neurological impairments other than

“loss of use of hearing, speech, and sight.”). 96 His narrative report stated “REASON FOR

EVALUATION: CONCUSSIONS, VERTIGO” (per the 2009 Application and the PBO’s

referral letter), 97 recounted Cloud’s “history of concussions”, “clear documentation of a single

concussion sustained on October 31, 2004”, “several other concussions … [h]e did not report …

for fear that he would be taken out of the game” (“NFL Brain Injuries”), “primary complaint is

vertigo [that] began 3 years ago”, “headaches which started approximately 10 years ago … last 6

or 7 years they have become more frequent and more intense … [and] occur once per month …

[with] photophobia and phonophobia … [such that] he likes to go into a dark, quiet room and lay

down”, “cognitive difficulties … forgets peoples names”, “mild memory loss and stuttering, and

depressive symptoms”, and “verbal fluency … [that] is mildly impaired.” (“Initial Cognitive



93
   App.4179.
94
   App.3003-05 (emphasis added). Cloud remained unaware of what medical records Defendant possessed.
95
   Dkt. 16 at CLOUD-AR-170-171; App.2578.
96
   Dkt. 16 at CLOUD-AR-180-182.
97
   App.3003-05; Dkt. 16 at CLOUD-AR-174.
                                                16
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 25 of 73 PageID 29308



Impairments”). 98 DiDio concluded: “I believe Mr. Cloud’s episodic vertigo is a sequela of his

prior traumatic head injuries. … [n]eurological testing is essential … I recommend an MRI

of the brain with gradient echo imaging to evaluate for any evidence of traumatic brain

injury[.]” (“DiDio Report and Brain Studies Recommendation”). 99 In its Motion, Defendant

points to DiDio’s checkmark on its form and only select portions of his narrative report, including

none of what is set forth above. Motion at 14. In truth, just as now, Defendant ignored Cloud’s

NFL Brain Injuries, Initial Cognitive Impairments, and the entirety of the DiDio Report with Brain

Studies Recommendation, and never again referred Cloud to another physician (“Failure to

Consider Brain Injuries”). Instead, Defendant buried those issues along with the initial

Mandelbaum Report, processed the 2009 Appeal without any neurological impairment rating, and

sent a memo to Defendant’s then Medical Director, Stephen Haas, M.D. (“Haas”) which failed to

disclose these buried reports, disclosed only the Canizares Report (qualifying rating) and Revised

Mandelbaum Report (not qualifying rating), and asked Haas to “determine, based on the available

evidence, which neutral report best reflects Mr. Cloud’s orthopedic conditions” (“PBO Memo”)

(emphases added). 100 On April 21, 2010, Haas recommended the Canizares Report (qualifying

rating) as “more appropriate” (“Haas Recommendation”), 101 and the Board, at the May 13, 2010

meeting, adopted the Haas Recommendation (a violation of the Plan and ERISA) 102 and approved

Cloud’s 2009 Appeal granting him LOD Benefits. 103 On May 18, 2010, the PBO (Gaunt) sent




98
   Dkt. 16 at CLOUD-AR-174-177, 180.
99
   Dkt. 16 at CLOUD-AR-178(emphasis added).
100
    App.2978; App.938 (161:3-19).
101
    App.2977.
102
    At the same meeting, the Board denied another player’s appeal based on a Haas report, which a federal
court later found to be a violation of ERISA. See Giles v. Bell/Pete Rozelle NFL Player Ret. Plan, 925
F.Supp.2d 700, 714, 721-22 (D.Md. 2013) (“the Retirement Board was prohibited by the plain terms of the
Plan from relying on Dr. Haas’s recommendation that Mr. Giles was ineligible for … benefits[.]”).
103
    App.8234-37; App.239 (307:10-21).
                                                   17
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                      Page 26 of 73 PageID 29309



Cloud the decision letter approving LOD Benefits, but it disclosed none of the foregoing and

contained no explanation in violation of ERISA: 104 “The [Board] determined that you qualify for

LOD disability benefits” (“2010 Decision Letter”). 105 The following month, June 17, 2010, Scott

initiated Cloud’s LOD Benefits. 106 In its Motion, Defendant omits all of these violations of the

Plan and ERISA and only offers unsupported arguments that Cloud never questioned the

application process or complained about not having records. 107 Motion at 14-15.

      E.      Cloud Continues Requesting Medical Records and Treatment for his Injuries and
              is Awarded Social Security Disability Benefits.

           On or about June 14, 2011, Cloud submitted to examination by John Cronin, Ph.D.

(“Cronin”) who recounted many of Cloud’s NFL Brain Injuries and Initial Cognitive

Impairments. 108 Cronin also relayed a June 27, 2011 phone interview with Jennifer, who advised

Cronin that “in the last few years, she feels he has changed dramatically and things have gotten

much worse in his life [related to some Initial Cognitive Impairments] … and as to social and

emotional well-being she was “concerned this is getting worse over time” (“Cronin Report”). 109

Between October and December 2011, Cloud attended martial therapy sessions with Harry Cates,

LPC (“Cates”). Cates observed Cloud “to be struggling with depressive symptoms poor

concentration and bouts of unpredictable irritability” … “likely related to his physical injuries and




104
    See, e.g., 29 CFR § 2560.503-1(g)(1)(i)-(v)(A); 29 CFR § 2560.503-1(j)(1)(2),(5)(i).
105
    App.2972.
106
    Several months later, Cloud pursued Defendant’s recommendation and filed a worker’s compensation
claim against the Giants. App.1030 (253:11-22), App.1041 (264:9-16).
107
     Defendant references (1) Cloud’s confusion in requesting another application for LOD Benefits
(unsurprising given his NFL Brain Injuries), and (2) Defendant’s discussions with a lawyer named John
Hogan who handled portions of Cloud’s social security disability application, not any application under the
Plan. Motion at 15 n. 18 and 16 n. 19. It is unclear why Defendant references these events but one can
surmise the intent. See discussion on tolling/waiver, infra at 57.
108
    Dkt. 16 at CLOUD-AR-119-121.
109
    Dkt. 16 at CLOUD-AR-121.
                                                    18
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                Page 27 of 73 PageID 29310



concussions, … as a professional football player” (“Cates Report”). 110 On August 24, 2012,

Cloud spoke with the SSA and completed his application for social security benefits (“SSA

Application”) wherein he stated “I became unable to work because of [Cloud T&P Disabilities]

on March 30, 2006” (“T&P Onset Date”). 111 On January 8, 2013, Cloud was examined for a

psychological report by Anne Smith, Ph.D. (“Dr. Smith”) with a chief complaint of “[p]ost

concussion symptoms.” 112 On January 22, 2013, Dr. Smith issued her report wherein she noted

Cloud’s Initial Cognitive Impairments (focusing on increased depressive symptoms) and found he

suffered from “Major Depressive Disorder, Recurrent, Severe Without Psychotic Features” and

deferred to a physician’s findings as to any physical disorders or conditions (“Smith Report”).113

       On February 25, 2014, the SSA noticed a May 15, 2014 hearing date for testimony

regarding the March 30, 2006 T&P Onset Date. 114 Cloud again attended a Cates therapy session,

who listed changes in Cloud’s Initial Cognitive Impairments and concluded “there appears to be

progressive decline in the speed and sharpness with which he interacts as well as increased anxiety

in social situations” (“Cates Supplemental Report”) (combined with Cronin Report and Smith

Report, the “First Change in Cognitive Impairments”). 115

       On June 18, 2014, the hearing officer issued a Notice of Decision – Fully Favorable and

Decision (“SSA award”) finding Cloud qualified for SSA benefits as being totally and

permanently disabled. 116 The hearing officer wrote Cloud “amended the alleged onset date of

disability to December 31, 2008[,]” found Cloud “has not engaged in substantial gainful activity



110
    Id. at CLOUD-AR-111.
111
    App.1042 (265:13-24).
112
    Dkt. 16 at CLOUD-AR-114.
113
    Id. at CLOUD-AR-114-118.
114
    App.1042-43 (265:13 – 266:9).
115
    Dkt. 16 at CLOUD-AR-111.
116
    Dkt. 16 at CLOUD-AR-296-305.
                                                19
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                     Page 28 of 73 PageID 29311



since December 31, 2008” (emphasis added), and concluded “[a]fter careful review of the entire

record, the undersigned finds that the claimant has been disabled from December 31, 2008 through

the date of this decision (“SSA Onset Date”). 117 Both Cloud and Jennifer were unaware why the

SSA Award reflected a December 31, 2008 SSA Onset Date, but neither deviated from the March

30, 2006 T&P Onset Date in the SSA Application and it appeared the hearing officer, who

referenced a last date of substantial gainful activity being year-end 2008, made a sua sponte

inference from Cloud’s perceived 2008 income and related SSA limits on same (meaning a

mischaracterization of proceeds from the aforementioned Sale of Personal Effects in 2008) and

Cloud’s efforts after the hearing to request correction of the SSA Onset Date were barred by the

60-day period to appeal any portion of the SSA Award. 118

      F.      Cloud Files 2014 Application for T&P Benefits and Defendant Grants Inactive A.

           On or about June 28, 2014, after being told by the SSA for the first time that Cloud qualified

for T&P Benefits (contrary to Defendant’s Instructions), Cloud applied for T&P Benefits under

the Plan (“2014 Application”) and alleged his various Cognitive Impairments and First Change in

Cognitive Impairments. 119 Although the Plan benefits website did not mention a T&P Disability

“time frame” required to receive Active Football benefits, Cloud’s 2014 Application identified the

Cloud Disabilities, the T&P Onset Date related to his NFL Brain Injuries, and numerous

orthopedic injuries and neurological conditions. 120 Cloud also included an executed Plan Consent

Form to be examined by neutral physicians, and submitted available medical and player records

(but, aware he did not have them all, did not check the box indicating complete submission). 121


117
    Dkt. 16 at CLOUD-AR-104, 106.
118
    App.1157 at 42:19 – 45:9; App.1177 at 123:12 – 125:14; App.948-49 at 171:23 – 172:9; App.1042-45
at 265:13 – 268:14; see also Dkt. 16 at CLOUD-AR-101.
119
    Id. at CLOUD-AR-96-97.
120
    Id. at CLOUD-AR-096-099; Appx. Ex. 6 at 295:12-21.
121
    Id. at CLOUD-AR-96-297.
                                                    20
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                 Page 29 of 73 PageID 29312



       In its Motion, Defendant argues Cloud identified the December 31, 2008 SSA Onset Date

as the date of T&P Disability for purposes of his 2014 Application. An accurate review of the 2014

Application reveals that Cloud identified the 2006 T&P Onset Date in Part 2(b) on page 2 of the

2014 Application (the instructions to the section provide “(b) when [the disabilities] caused you to

be totally and permanently disabled”). Cloud’s reference to the SSA Onset Date was made in his

accurate description of what the SSA Award stated, not a contemporaneous denial of the described

2006 T&P Onset Date in the body of the actual 2014 Application form promulgated by Defendant.

       Banks noted the SSA Award, request for T&P Benefits, and timeliness of the 2014

Application. 122 Two weeks later, on July 18, 2014, the PBO (Scott) emailed the Committee (and

3 Groom lawyers, among others), apologized for the delay, and advised the July 17, 2014 e-ballots

were posted (“2014 Cloud File”). 123 Not even 2 full business days after the Committee received

the 2014 Cloud File designated by the PBO to be decided by the day before, and a month before

a decision was actually due, the PBO (Scott) pressed for a decision under the heading “Delayed

Cases” – “Just a reminder that we have not received the decisions for the … 7/17 e-ballots” (again

copying 3 Groom lawyers, among others). 124 The following afternoon of July 23, 2014, Reynolds

emailed his decision sheet, which reflected the SSA Award correlated with T&P Benefits (Inactive

A), and Ms. Smith followed via email a few minutes later with “I agree with [Reynolds.]” 125 Scott

forwarded the emails to unnamed members of a PBO “Disability Group.” 126 Somehow, in the same

afternoon, a decision letter was prepared, signed by Banks, and mailed to Cloud (“2014 Decision




122
    Id. at CLOUD-AR-94.
123
    App.8238-39; Dkt. 16 at CLOUD-AR-92-276.
124
    Dkt. 16 at CLOUD-AR-277. Defendant was under no time pressure pursuant to 29 CFR § 2560.503-
1(f)(3) and Dkt. 16 at CLOUD-AR-060 at § 12.6(a) (“Claims Procedures”).
125
    Id. at CLOUD-AR-279-80.
126
    App.8240-42.
                                                21
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                   Page 30 of 73 PageID 29313



Letter”). 127 Neither Committee member wrote the 2014 Decision Letter, knows who wrote it,

recalls reviewing before it was sent to Cloud, or could provide any of the underlying reasoning in

support of its conclusions (i.e., “we were not involved”). 128 The 2014 Decision Letter disclosed

that the Committee relied on Plan sections 5.1 (Eligibility), 5.2(a)&(b) (General Standard; Social

Security Awards), 5.3 (Classification), and 5.8 (Effective Date of T&P Benefits), and provided

only a conclusion (with no explanation) that Cloud did not qualify for Active Football benefits:

       “The Committee determined that you did not become totally and permanently
       disabled within any possible ‘shortly after’ period, such that the Active Football or
       Active Nonfootball categories could apply to your case.”

(“Boilerplate Denial of Active Football”). 129 The failure to explain the basis for the Committee’s

decision or provide a description of information needed (and why) to perfect the claim for T&P

Benefits (Active Football) was a violation of the Plan and ERISA 130 (“First T&P Benefits ERISA




127
    Dkt. 16 at CLOUD-AR-277-285.
128
    App.52 (199:15 – 200:2), App.83-84 (324:4 – 326:19), App.91 (354:18-22); App.206 (174:3 – 175:8),
App.244-46 (329:21 – 336:14).
129
    Dkt. 16 at CLOUD-AR-282-285. Defendant (i.e., Groom) has used this same Boilerplate Denial of
Active Football in denial letters spanning decades. Many of the decision letters are identical as to
different players – the only difference being the date the player ceased playing in the NFL. For
example, in 2016 alone, Defendant used this language without ERISA-compliant explanation [see, e.g., 29
CFR § 2560.503-1(g)(1)(i)-(v)(A); 29 CFR § 2560.503-1(j)(1)(2),(5)(i)] in the following denial letters:
App7270 (Jan. 4); App.7271 (Jan. 14); App.7275 (Jan. 22); App.7279 (Jan. 27); App.7283 (Jan. 27);
App.7286 (Feb. 12); App.7290 (Feb. 12); App.7299 (Feb. 25); App.7303 (March 8); App.7307 (March 24);
1881 (March 24); 2736 (March 24); 1865 (March 29); 2728 (April 11); 1484 (April 11); App.7327 (April
11); App.7331 (April 28); App.7335 (April 29); App.7339 (May 6); App.7343 (May 6); App.7352 (May
24); App.7356 (May 25); App.7360 (May 25); App.7364 (May 25); App.7373 (May 25); App.7377 (June
7); App.7381 (June 14); App.7388 (June 14); App.7389 (June 14); App.7939 (June 14); App.7397 (June
14); App.7401 (June 17); App.7405 (June 17); App.7409 (June 17); 2768 (June 24); 8612 (June 24); 7864
(July 5); App.7425 (July 12); App.7429 (July 12); App.7433 (July 20); App.7437 (Aug. 8); App.7441 (Aug.
8); App.7445 (Aug. 8); App.7449 (Aug. 8); App.7453 (Aug. 8); App.7457 (Aug. 12); App.7461 (Aug. 12);
App.7465 (Aug. 12); App.7469 (Aug. 16); App.7483 (Aug. 30); App.7487 (Aug. 31); App.7491 (Aug. 31);
App.7495 (Sept. 9); App.7499 (Sept. 9); App.7503 (Sept. 30); App.7507 (Oct. 13); App.7511 (Oct. 13);
App.7519 (Oct. 14); App.7527 (Oct. 21); App.7531 (Nov. 3); App.7535 (Nov. 4); App.7539 (Nov. 4);
App.7543 (Nov. 10); App.7568 (Nov. 23); App.7572 (Nov. 30); App.7576 (Dec. 5); App.7531 (Dec. 9);
App.7584 (Dec. 9); App.7588 (Dec. 14); App.7592 (Dec. 16); App.7596 (Dec. 21); App.7600 (Dec. 21);
App.7604 (Dec. 22) (“Systemic Violations of the Plan and ERISA in Denial Letters”).
130
    29 CFR § 2560.503-1(g); Dkt. 16 at CLOUD-AR-061 at § 12.6(a).
                                                  22
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                     Page 31 of 73 PageID 29314



Notice Violation”). Despite the 2014 Decision Letter representation about the Committee

determinations, neither Committee member referenced any of the cited Plan provisions or Shortly

After provision anywhere in the AR, and the minutes reflect only that it “[g]ranted Inactive A total

and permanent disability benefits … since [Cloud] satisfies the requirements of Plan sections 5.2

and 5.3(c)” – stating no evaluation of Cloud’s qualification for Active Football benefits. 131

        In truth, the Committee did not review the 2014 Application. Neither Committee member

met or spoke with Cloud, or each other, and both admit their “meeting” was not a meeting at all –

it was just documentation of Committee members emailing their e-ballots to the PBO and Groom

lawyers. 132 Neither Committee member can explain any underlying analysis in deciding Cloud’s

2014 Application, 133 reviewed nothing but the AR (though seemingly unaware of the DiDio Report

and Brain Studies Recommendation), requested no additional medical documentation, and did not

refer Cloud foe evaluation despite the alleged Cloud Disabilities, Cloud T&P Disabilities, DiDio

Report and Brain Studies Recommendation, and related assertions in the 2014 Application and

evidence in the 2014 Cloud File 134 (even though they automatically refer claimants to see neutral

physicians 135 because the two Committee members have no medical expertise 136 and their job is



131
    App.5759; App.5954; Dkt. 16 at CLOUD-AR-277-81; App.246 (334:18 – 335:3). In fact, the Committee
minutes were not finalized until almost one year later (in June 2015) and referenced only sections 5.2 and
5.3(c) of the Plan. App.8243-53.
132
    Dkt. 16 at CLOUD-AR-277-81; App.5052-57; App.188 (104:2-22), App.193-94 (124:5 – 126:16,
127:22 – 128:9), App.204 (166:20 – 167:9), App.205 (171:13 – 172:4), App.216-17 (217:12 – 218:19),
App.243 (323:4-7), App.248 (343:18-21), App.257-58 (380:15 – 383:13); App.5-6 (13:22 – 14:3), App.7
(19:4 – 20:6), App.12-13 (41:19 – 42:8), App.27 (98:13 – 99:1), App.28-29 (105:18 – 106:4), App.41-42
(156:14 – 159:18), App.50 (191:17 – 193:11), App.52 (198:13-18), App.53 (203:15 – 204:1), App.56
(214:11-22), App.83 (322:13 – 323:2).
133
    App.243 (322:12 – 323:13), App.251 (355:3-22); App.252-53 (361:19 – 362:5).
134
    App.203 (163:17 – 164:5), App.206 (176:2-4), App.230 (273:13-21), App.231 (275:11-19, 276:6-9),
App.261 (396:2-5), App.262 (398:2-5, 398:2-15, 398:16 – 399:5); App.53 (202:17 – 204:13), App.8 (22:9-
12); App.5759; Dkt. 16 at CLOUD-AR-376.
135
    App.43 (162:15 – 163:17).
136
    App.169 (29:12-19), App.186 (95:18 – 96:12), App.187-88 (100:4 – 103:1), App.190 (110:21 – 113:2),
App.208 (182:3-20), App.214 (206:4 – 207:7), App.232 (280:19 – 281:7), App.236-37 (297:14 – 299:12),
                                                   23
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                      Page 32 of 73 PageID 29315



to review the medical records and rely on medical experts to advise whether a player is disabled)137

(“Committee Review Failures”). The alleged excuse for these Committee Review Failures is

causation of the Cloud T&P Disabilities was irrelevant because he qualified by virtue of the SSA

Award and, in such cases, there is no need for referral to neutral physician(s) – i.e., the

Committee’s decision: “was based on the fact that [Cloud] is receiving Social Security Disability

benefits” under Plan Section 5.2(b) 138 (“Committee Reliance on SSA Award”). 139

III.    Cloud Seeks Reclassification from “Inactive A” to “Active Football”, but both the
        Committee and Board Summarily Deny Reclassification Without Any Good Faith
        Effort to Consider It or Allow a Full and Fair Review.

        Cloud remained in cognitive decline after his 2014 Application. Jennifer described Cloud’s

symptoms as “horrible” indicating he “he flipped the switch and became someone that I didn’t

know anymore” and exhibited paranoia, delusion, and other symptoms. 140 In February 2016, Cloud

requested Reclassification from Inactive A to Active Football (“2016 Application”), Defendant

received it on February 17, 2016, and the PBO (Scott) began processing it. 141 The 2016 Application

alleged “Migraine…, Clinical Depression…, Significant Memory & Attention Problems…,

Vertigo…, Impaired Verbal Fluency…, Memory loss, Attention and Decision Problems, Impaired



App.260-61 (393:18 – 396:1), App.262 (399:6-17), App.263-64 (402:15 – 406:14); App.22-23 (78:7 –
83:4), App.32-33 (120:3 – 123:13), App.38-39 (145:14 – 146:3), App.80 (310:8-10)
137
    App.185 (92:3-4), App.233 (283:20 – 284:7).
138
    App.220 (231:17 – 232:17), App.241 (314:6 – 315:13). At one point, Reynolds even stated Cloud was
not injured while in the NFL, but could not identify any other event or time during which Cloud was injured
after he ceased playing in the NFL. App.221 (236:15-19), App.235-36 (293:1-12, 296:7-16).
139
    Notably, Groom objected that any effort by the Committee to determine the underlying basis for the
SSA Award calls for a legal conclusion. App.241 (314:11 – 315:3).
140
    App.1163-64 (68:11 – 71:8, 73:10-16), App.1179-82 (134:12 – 140:13, 141:22 – 142:15). During their
relationship throughout 2009 and over the course of the following years, Jennifer would observe Cloud’s
increasing symptoms of cognitive impairment and complaints regarding his efforts to obtain medical
records in pursuit of his NFL benefits. App.1153-54 (27:25 – 28:12, 30:17 – 32:14), App.1179 (130:21 –
132:5).
141
    Dkt. 16 at CLOUD-AR-288-472, 488; App.208 (184:21-22), App.245-46 (330:3-21, 336:20 – 337:1);
App.15 (53:17 – 54:5); App.394 (232:18-22, 233:13-16), App.406 (280:5-6, 281:7-10), App.428-29
(369:22 – 370:4), App.437 (404:12 – 405:2).
                                                    24
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                     Page 33 of 73 PageID 29316



Verbal Fluency, Post-Concussion Syndrome…, [and] Affective Disorder” 142 (“Second Change in

Cognitive Impairments”, together with Initial Cognitive Impairments and First Change in

Cognitive Impairment, the collective “Cognitive Impairments”). The AR (at that time) reflected

187 pages (“2016 Cloud File”). 143

      A.      In Fewer Than 24 Hours, Defendant Rushed the Committee’s Summary Denial.

           On February 22, 2016, Defendant uploaded the 2016 Cloud File for the February 22, 2016

claims decisions (i.e., the same day), and the PBO (Scott), by 4:19 p.m. email, informed the

Committee (copying 4 Groom lawyers) that Cloud’s 2016 Application had been posted “for your

review as 2/22/2016 [Committee] e-ballot” 144 – allowing for less than one day of review. Groom

prepared the February 22, 2016 Committee minutes reflecting a meeting wherein the Committee:

           [d]enied application for reclassification of Inactive A total and permanent disability
           benefits to the Active Football category for failure to meet the requirements for
           reclassification of Plan section 5.7(b)

(“2016 Committee Minutes”). 145 In truth, Committee members admit they did not have a meeting

or issue a decision in the late hours after the 2016 Cloud File had been uploaded. The 2016

Committee Minutes were created by Groom just to satisfy the Plan requirements, and the actual

Committee decision took place days later (see below). 146 Committee members cannot recall

whether they even discussed the 2016 Application, and Reynolds admitted a low chance he spent

even one day reviewing it, could not provide his thought process, and could not recall any

communications with Ms. Smith. 147 Likewise, Ms. Smith recalls nothing about or what she



142
    Dkt. 16 at CLOUD-AR-290-291.
143
    Id. at CLOUD-AR-286-472.
144
    Id. at CLOUD-AR-473 (emphasis added); App.8254.
145
    App.5052-57.
146
    App.257-58 (380:15-18, 381:2 – 382:5, 383:10-13).
147
    App.41-42 (157:21 – 159:15), App.56 (215:1-6), App.97-98 (381:22 – 383:9), App.71 (274:14 – 275:5),
App.88 (343:10 – 345:14), App.92 (359:20 – 360:7).
                                                    25
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 34 of 73 PageID 29317



specifically did to evaluate it. 148 In the short period Defendant allowed the 2016 Application to be

pending before the Committee, the same Committee Review Failures took place as with the 2014

Application (discussed above) (“Repeated Committee Review Failures”).

        On March 1, 2016, just 5 business days after Defendant uploaded the 2016 Cloud File and

pressed the Committee for a decision, Ms. Smith e-mailed her e-ballot to the PBO (Scott),

Reynolds, and 4 Groom lawyers with only the comment “no changed circumstances[,]”wrote

“[a]pologies for the delay[,]”and 4 minutes later Reynolds replied with no e-ballot but wrote: “I

agree.” 149 The PBO (Scott) forwarded the emails to unnamed members of a “Disability Group.”150

The next day, a decision letter dated March 2, 2016 was signed by Scott (“2016 Decision Letter”)

and allegedly sent to Cloud on the same day via FedEx advising him, inter alia, that he could file

an appeal “within 180 days of your receipt of this letter” (“Noncompliant Transmittal”). 151




148
    App.47 (179:2-5, 179:19 – 180:2).
149
    Dkt. 16 at CLOUD-AR-473-476.
150
    App.8255-57.
151
    Dkt. 16 at CLOUD-AR-485-89. Defendant was required to ensure Cloud’s actual receipt via USPS. See
29 CFR § 2560.503-1(g)(1) (written notice required); 29 CFR § 2560.503-1(m)(5) (defining notice); 29
CFR § 2520.104(b)—1(b)(1) (“plan administrator shall use measures reasonably calculated to ensure
actual receipt of the material by plan participants, beneficiaries and other specified individuals” and
“[m]aterial distributed through the mail may be sent by first, second, or third-class mail.”) (Emphases
added). Vincent, Defendant’s corporate representative as per Rule 30(b)(6) of the Federal Rules of Civil
Procedure, confirmed Defendant does not have a document showing Cloud signed for the March 2, 2016
decision letter or a “picture of his signature”. App.434 (392:12-394:11). Cloud has attempted to run the
“shipment tracking number” through the Fed Ex system and “there’s no hit…it doesn’t exist.” App.1052
(275:2-7, 275:10-21). In Cloud’s neighborhood, Cloud only signed for Fed Ex deliveries like “very large,
furniture piece[s]” and “audio-video equipment”. App.1052 (275:23-276:21); see also App.1167 (82:17-
83:4) (stating Fed Ex would leave packages “sitting at our door”). Cloud does not recall signing for the
2016 Decision Letter. App.1053 (276:22-25); see also App.1165 (75:10-14) (stating Ms. Cloud does not
recall “pick[ing]…up” the Fed Ex containing the 2016 Decision Letter). The view of the front door of the
Cloud home was obstructed by “columns, plants, and trees” and cannot be seen from the driveway.
App.1168 (86:15-20). Cloud recalls his receipt on March 6, 2016. App.988-90 (211:20 – 213:7), App.1142
(Errata). In an effort to avoid reaching the merits of Cloud’s right to Active Football (T&P Benefits),
Defendant seeks to rely on an Untimeliness Argument (defined below) that the AR evidences when Cloud
received the 2016 Decision Letter so that it can claim “[h]is 180-day appeal deadline was Wednesday,
August 31, 2016”, but the cited pages are just the typed conclusions of an unidentified person and do not
refute the testimony of Cloud or Jennifer. See Dkt. 16 at CLOUD-AR-524; Motion at 22.
                                                   26
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 35 of 73 PageID 29318



           The 2016 Decision Letter, like the 2014 Decision Letter, set forth alleged substance behind

the Committee’s decision and “denied [Cloud’s] request for several reasons[,]” 152 but failed to

explain the bases for the decision or provide a description of information needed (and why) to

perfect the claim for T&P Benefits (Active Football) was a violation of the Plan and ERISA153

(“Second T&P Benefits ERISA Notice Violation”). Neither Reynolds nor Ms. Smith wrote the

2016 Decision Letter, neither knows who wrote it, and neither recalls reviewing before it was sent

to Cloud. 154 Despite the representation in the 2016 Decision Letter as to what the Committee

determined and noted, 2016 Committee Minutes reflect the denial took place before the Committee

made a decision and, even then, neither member referenced any of the cited Plan provisions or the

three reasons for denial in their notes, emails, e-ballots, or anywhere else in the AR. 155 Less than

2 months later, in May 2016, Scott quit player claims were being sabotaged by Defendant:

“Sometimes, it just baffled me the decisions they arrived at” in denying player applications, and

Vincent was promoted to replace Scott as disability manager. 156

      B.        The Board Denies Reclassification.

           Cloud appealed the denial of his 2016 Application, which Defendant alleged it received on

September 2, 2016 157 (“2016 Appeal”). The Repeated Committee Review Failures would pale in

comparison to the egregious failures by Defendant in reviewing his 2016 Appeal.

           1.      Groom Prepares Incorrect Result-Oriented Case Summaries. Throughout

September 2016, Defendant took no steps to refer Cloud to a neutral physician, evaluate the


152
    Dkt. 16 at CLOUD-AR-488.
153
    29 CFR § 2560.503-1(g); Dkt. 16 at CLOUD-AR-061 at § 12.6(a).
154
    App.52 (200:5-17); App.206 (174:3 – 175:8).
155
    App.5759; App.5954; Dkt. 16 at CLOUD-AR-277-81; App.205-06 (172:18 – 175:4), App.246 (334:18
– 335:3).
156
    App.249-50 (349:16 – 350:4); App.208-09 (184:20 – 185:14, 186:16 – 187:2); App.393-04 (227:13 –
228:11, 231:10-13), App.406 (281:11-15).
157
    Dkt. 16 at CLOUD-AR-490-501.
                                                   27
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 36 of 73 PageID 29319



changes in his impairments, or otherwise process the 2016 Appeal. The following month, on

October 3, 2016, the PBO (Richard) wrote to Cloud to acknowledge receipt of the 2016 Appeal,

informed him it would be presented to the Board at its next meeting 6 weeks later (November 16,

2016), and advised him that he could submit any additional evidence over the next 2 weeks (until

October 16, 2016). 158 Defendant still made no effort to refer Cloud to a neutral physician for

examination. Instead, even before the PBO’s 10/16 “deadline”, Groom (staff attorney Natallia

Maroz – “Maroz”) determined Cloud’s Appeal was ready to be summarized for submission

because it was a Reclassification (undeserving of medical review), so it asked Richard to upload

Cloud’s 2016 Appeal to the PBO’s Laserfische so Groom could summarize it and, multiple times

over the next 10 days, the PBO (Vincent) advised lawyers Marshall and Lerner that summaries

were being posted (evidently without notice to the Board members requiring them to log-in by

their own volition to determine if any appeals are pending before they attend a quarterly Board

meeting). 159 The omission of notice to Board members is because they do not conduct the review;

instead, the Board delegates preparation and study of all claims and pertinent information, and the

Board purports to use “best faith efforts” to monitor delegees, some who “recommend[] a certain

outcome for a case[.]” 160 Though Board members do not know to whom it delegates all these tasks,

they include the Committee members (Reynolds and Ms. Smith), Lerner, Marshall, and Groom. 161

        On October 24, 2016, Cloud again delivered to Defendant a Plan Consent Form to enable

referral to neutral physicians. 162 Uninterested in referring him to a neutral physician, the PBO



158
    App.4241.
159
    App.8258-59; App.5793-94; App.708 (186:18 – 189:2); App.554 (154:16 – 157:18).
160
    App.676-77 (58:15 – 59:1, 60:24 – 62:16), App.682-85 (85:16 – 87:1, 93:2 – 95:17), App.687-88 (105:4-
13, 106:17-20), App.694 (132:18 – 133:10), App.700-01 (156:23 – 158:18), App.702 (162:14 – 165:16),
App.717 (224:21 – 225:5); App.536 (82:12-14).
161
    App.666 (19:23 – 20:4), App.668 (28:1-4), App.683-84 (87:2 – 90:7), App.699 (153:17-24).
162
    Dkt. 16 at CLOUD-AR-512; App.2522-23; App.3112-14.
                                                   28
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                      Page 37 of 73 PageID 29320



(Richard) requested Cloud’s summary from Groom. 163 Without evidence, any evaluation of

Cognitive Impairments, or any semblance of a “full and fair review”, Defendant (and Groom)

began preparing a basis for denial. The following day, on October 27, 2016, Groom (Maroz) sent

the PBO (Richard and Vincent) a 1-page summary of the 2016 Appeal (“Summary One”) which

referenced the Cognitive Impairments and First Change in Cognitive Impairments alleged in

Cloud’s 2014 Application (despite the Committee Reliance on SSA Award), ignored the Second

Change in Cognitive Impairments set forth in the 2016 Application, and set forth a chronology of

medical records referenced by page numbers such as “4/13/10 Dr. Adam DiDio’s report [91-103”

…. (“Chronology”). 164 The Chronology coincidentally excluded portions of the DiDio Report and

Brain Studies Recommendation. 165 Groom also excluded both MTBI Exams, 166 and the Medical

Summary in the AR omits the page covering the 2004 Concussion. 167 Any Board member or other

person who relied on Groom’s Chronology would have missed these key documents (“Omitted

Medical Records”). Summary One also stated the PBO received Cloud’s 2016 Appeal “184 days

after the denial letter[,]” 168 (“Untimeliness Argument”). This was a complete result-oriented

fabrication not supported by anything in the AR and Defendant never asked Cloud when he

received the 2016 Decision Letter via its Noncompliant Transmittal. 169

        On November 2, 2016, the PBO (Vincent and Richard) communicated regarding a need to

post appeals summaries (including Cloud’s), and Vincent advised Marshall/Lerner of more posted




163
    App.3117.
164
    App.3696-98. For some reason, that line is the only medical records without a closed parenthesis.
165
    App.3698; Dkt. 16 at CLOUD-AR-378-390.
166
    Dkt. 16 at CLOUD-AR-391-392.
167
    See AR388-89 (missing from between these pages).
168
    App.3698.
169
    See Dkt. 16 at CLOUD-AR-524. It is unclear who or when this document was created.
                                                    29
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                   Page 38 of 73 PageID 29321



cases. 170 Richard stated she would post them shortly. 171 That evening, Vincent had not reviewed

any summaries, but informed Groom that he had notified Marshall and Lerner of the 11 cases

added to the meetings site (including Cloud’s). 172 A PBO administrator also reminded Richard to

schedule Cloud for an appointment to see a neutral physician. 173 The reminder was ignored. On

November 4, 2016, Groom (Maroz) sent Vincent and Richard a replacement summary

(“Summary Two”), which they uploaded to the meetings site and PBO Laserfiche, and Vincent

advised Marshall and Lerner of more postings. 174 In Summary Two, Groom made no change to

the Chronology or Omitted Medical Records, but dropped the Untimeliness Argument since there

was no supporting evidence and deleted reference to “184 days after the denial letter[.]” 175

However, four days later, on November 8, 2016, Groom (Maroz) asked Vincent to check when

Cloud received his denial letter. 176 Nothing in the AR reflects his response. 177 Nonetheless, within

the hour, Groom (Maroz) sent Vincent a third “revised” summary of Cloud’s claim (“Summary

Three”), which he asked Richard to add to the PBO Laserfiche. 178 Vincent advised Marshall and

Lerner of more cases being posted, including Summary Three as to Cloud “if you did not review

that yet.” 179 In Summary Three, Groom again made no change to the Chronology or Omitted

Medical Records, but stated the PBO received Cloud’s 2016 Appeal “182 days later” after

Defendant’s “denial letter was received by [him] on 3/4/16.” 180 Both Cass and Mr. Smith




170
    App.3110; App.3740; App.5792.
171
    XFile805.
172
    App.3722.
173
    App.8260.
174
    App.8261-62; App.3125; App.5791-5792.
175
    App.8262.
176
    App.3812.
177
    But see, infra, at 48 n. 283.
178
    App.3691-92.
179
    App.5791; App.252-53 (361:15 – 362:10); App.254 (366:11-15).
180
    App.3692; Dkt. 16 at CLOUD-AR-484.
                                                 30
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                        Page 39 of 73 PageID 29322



confirmed they have seen no such supporting records. 181

        2.      NFL and NFLPA Lawyers Decide Cloud’s Case. On November 9, 2016, Vincent

once again advised Marshall and Lerner of more cases being posted. 182 In the morning of

November 10, 2016, Brian Francis (NFLPA) (“Francis”) emailed Marshall a Board meeting case

list and wrote “look forward to discussing.” 183 Even though the Board meeting was not until the

following week, the case list reflected dispositive comments on Cloud’s case, including an “x” in

the denial column and statement “[n]o changed circumstances.” 184 That afternoon, Groom (Maroz)

informed Vincent that Cloud’s case (as well as another claimant’s case) had been posted under the

wrong plan (suggesting the pre-ordained denial was not even done under the correct Plan), and

Vincent advised Lerner and Marshall that new cases had been posted (including Cloud’s in the

correct Plan). 185 Marshall emailed Davis a copy of the list of cases and wrote “[c]an we do a re-do

on this week, seriously, I’m ready to stab someone in the eye” and “she [presumably Lerner] hasn’t

agreed to the Active Football for [Redacted] 186 but I’ll get her there. She just hasn’t had a chance

to look at it. They are still posting cases.” 187 As to Cloud, he was already out of luck. But this time,

the NFLPA case list for Cloud said “[u]ntimely appeal” instead of “[n]o changed

circumstances[.]” 188 It is unclear who revised the basis of this denial of Cloud’s 2016 Appeal, but

it was not any member of the Board which had not yet convened.


181
    App.593 (313:2-14); App.721 (239:19 – 240:6); Dkt. 16 at CLOUD-AR-524.
182
    App.5791.
183
    App.5959.
184
    App.5961; App.5964.
185
    App.8349-50.
186
    Based upon Plan Decision Letters produced in this case, it appears this relates to the Committee’s denial
of Active Football benefits for a player who suffered a spinal cord injury in the NFL. At the November
2016 meeting, the Board would reverse the Committee and award Active Football benefits in that case, one
of only 3 awards of Active Football benefits in all of 2016 (all 3 of which involved applications filed within
months of their final seasons in the NFL). See App.7445 (at 7447), App.7564, App.7523, App.7263/7267
(duplicate production).
187
    App.5807, App.5809, App.5812.
188
    App.5812.
                                                     31
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                      Page 40 of 73 PageID 29323



        On November 11, 2016, Vincent emailed Marshall and Lerner a complete list of cases

posted for consideration. 189 Thereafter, Board members, various lawyers, and PBO staff traveled

to Atlanta, Georgia for the November 2016 meeting held at the luxury 5-star hotel Mandarin

Oriental Atlanta. At least four Groom lawyers attended the Board Meeting at the luxury hotel

(Alvaro Anillo, Doug Ell, Mike Junk, and Mike Maricco, but not staff attorney Maroz) (“Groom

Attendees”). 190 Although Reynolds clearly stayed in the luxury hotel in Atlanta and participated

in the decision-making process before the Board Meeting (discussed below), neither he nor Ms.

Smith attended the Board Meeting (though they periodically do attend other Board meetings). 191

        In the evening of November 15, 2016, 192 Marshall emailed a PBO administrator a copy of

her pre-ordained NFLPA-side appeals decisions and asked that 14 stapled copies be delivered to

her hotel room (“Marshall Decisions”) 193 and 30 minutes later Reynolds (the Committee member)

emailed the same PBO administrator a copy of Lerner’s pre-ordained NFL-side appeals decisions

and asked that 20 stapled copies be delivered to his hotel room (“Lerner Decisions”). 194 Though

Groom heavily redacted the Marshall Decisions and Lerner Decisions (purportedly to protect

player privacy), Defendant forwarded unredacted versions of both to 3 random hotel staff members

and the hotel “front desk” and asked that someone/anyone print, staple, and deliver copies to their

hotel rooms. 195 Even though the Board had not yet met, the Marshall Decisions included the denial

of Cloud’s 2016 Appeal for “[n]o clear and convincing evidence of changed circumstances[.]”196




189
    App.8263-66.
190
    App.5052-57; App.46 (175:20 – 176:4).
191
    App.5052-57; App.7 (21:20-22).
192
    The first day of the Board meeting involved review of financial matters. The second day involved claims
decisions. App.671 (38:7-8).
193
    App.8289-97.
194
    App.8267-88; App.8298-8308.
195
    App.8267, App.8278, App.8298.
196
    App.8292.
                                                    32
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                  Page 41 of 73 PageID 29324



The Lerner Decisions also included the denial of Cloud’s 2016 Appeal, but for the unintelligible

“reason” that the Committee previously awarded Inactive A based on the SSA Award and

acknowledging Cloud “contends post-concussion syn, depression[.]” 197 Apparently, the basis of

“[u]ntimely appeal” was dropped by both Marshall and Lerner (for reasons stated below).

       As part of the above-described claims negotiations, the Board members never saw any

document describing any of the above-described initial review or any assessment of medical

records which reflects that the Board does not have a formal process to verify the accuracy of that

review or interpretation of records and are wholly unaware of any procedures or rules regarding

these delegation and monitoring issues 198 (part of the “Claims Procedures Violations”).

       3.      The Private Caucuses. This above is how the Board operates with respect to

advisors who “recommend[] a certain outcome for a case[.]” Moreover, these “recommendations”

are not even made during the Board meeting; instead, the NFL and NFLPA lawyers first conduct

separate undocumented private caucuses (no minutes are prepared and none of it is reflected in the

AR) 199 during which the lawyers discuss the cases and make recommendations on how to decide

the cases. 200 The amount of time spent in each private caucus depends upon case complexity, and

each side can decide to order the player applicant to see a Plan approved neutral

neurologist/physician for further review. 201 In the NFLPA-side caucus, Mr. Smith stated their

advisors explained Cloud’s case was not very complex “because of the timeliness, because of the




197
    App.8275.
198
     App.681-82 (80:1 – 82:4), App.684 (90:3-7), App.704 (172:10-23); 29 CFR § 2560.503-1(b)
(“[o]bligation to establish and maintain reasonable claims procedures”; “safeguards designed to…verify
that benefit claim determinations are made in accordance with governing plan documents
and…provisions…applied consistently”); § 2560.503-1(d).
199
    Private causes are held the morning of day two (November 16, 2016). App.671 (38:7-8).
200
    App.671 (38:4-17), App.663 (9:13-16), App.717-18 (225:25 – 226:5); App.554 (157:19-22).
201
    App.684 (92:1 – 93:1), App.702 (163:17 – 164:5), App.708-09 (189:15 – 193:10); App.230 (273:13-
21), App.261-62 (396:2-5, 398:2-5).
                                                 33
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                       Page 42 of 73 PageID 29325



doctors’ reports and what they said specifically about the timing of the disability.” 202 Mr. Smith

stated Marshall instructed the NFLPA-side to deny Cloud’s request for Reclassification:

        “[W]hen Mr. Cloud’s case come up -- comes up, she would say, ‘Well, we did
        this review. This is an appeal of a reclassification. And I looked at the record
        and there was no new information. It wasn’t timely. There is nothing even in
        the original record and, of course, because there’s – there’s nothing new,
        there’s no evidence that he became totally and permanently disabled in the
        shortly-after window, so I am recommending that we deny the appeal.” 203

        Not all Board members fully understand its own de novo standard of review, some

believing the Board can just rely on, and essentially rubberstamp, an advisor(s) recommendation

(including by the Committee as an advisor) (“Rubberstamping”). 204 Consistent with Board

members’ view that Rubberstamping is acceptable, Mr. Smith and Cass (the two Board members

selected by Groom to be deposed in this case) (1) did not review the entire AR or discuss it with

other Board members before acquiescing to Rubberstamping and denying Cloud’s 2016 Appeal

(“Board Failure to Review the AR”), 205 (2) did not conduct any independent research on Cloud


202
    App.684 (92:1 – 93:1), App.708-09 (189:15 – 193:10).
203
    App.684 (90:8 – 91:22), App.709 (192:2-22).
204
    App.707-08 (182:3 – 184:12, 185:15 – 186:6), App.709-10 (193:13 – 194:23, 196:2-12), App.715
(216:22 – 217:7). During a hearing before this Honorable Court, Mr. Meehan (Groom) stated the Board
“do[es] not simply rubber stamp” the decision of the Committee, but makes “an independent assessment.”
Dkt. 60 at A-020. The evidence confirms otherwise.
205
    App.668-69 (28:7 – 29:13, 31:19-25), App.671-72 (41:5 – 42:13, 43:15-19), App.686 (101:4-15),
App.705-06176:18 – 177:9, 242:3-9; App.524-25 (34:21 – 35:8, 37:10 – 39:21, 39:22 – 40:2), App.543
(110:14-23), App.546 (125:2-10). Cass testified he read “enough” of the AR because (1) he did not need to
review documents already reviewed by the Committee when it issued its 2014 Decision Letter (“I didn’t
see any need to look at them again” … “I didn’t see a need to go through documents that had already been
reviewed by the [Committee]”), and (2) he even argued Groom’s post hoc argument Cloud “admitted” in
his appeal that he had no “changed circumstances.” App.543-44 (112:21 – 113:1; 113:20 – 115:8);
App.545-46 (119:11 – 123:12; 125:2-13). In Cloud’s correspondence to the Board dated September 1, 2016,
Cloud requested the Board to “reclassify” him to “‘Active Football’ benefits. Dkt. 16 at CLOUD-AR-490.
Cloud also stated he “satisfies all of the criteria for an award of Active Football benefits.” Id. Clearly,
Plaintiff indicated and argued that he met all requirements necessary for reclassification of his benefits to
“Active Football” benefit. Dkt. 16 at CLOUD-AR-032 at § 5.3(a). As an alternative argument, Cloud
requested that the Board waive criteria, because Plaintiff is “suffering from neurological impairments”
and is “at a distinct disadvantage when it comes to applying for benefits under the NFL Player
Retirement Plan.” Dkt. 16 at CLOUD-AR-493 (emphasis added). This alternative argument is tracking
the last sentence of Section 5.7(b) of the Plan, which waives certain requirements of Section 5.7(b) of the
                                                     34
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                        Page 43 of 73 PageID 29326



or refer Cloud for examination by a neutral physician (and did not know if the Board or any advisor

had done so) (“Board Failure to Refer to Physician”), 206 and (3) did not have a consistent

understanding of Changed Circumstances for Reclassification (“Board Interpretation

Inconsistencies”) 207 (all of the foregoing, the “Board Review Failures”). Nonetheless, even

without medical review, both Mr. Smith and Cass admit the Cloud T&P Disabilities arose out of

his participation in NFL football games and Cognitive Impairments may worsen over time. 208

        4.       The Board Meeting. After the respective private caucuses, a Board meeting was

held where they did not substantively discuss cases, and no member votes actually took place;

instead, the Board wholesale “den[ied] or approve[d] a block of decisions” – “in general what

happens is that cases as a slate are either approved or denied, based on the reasons that the two

separate caucuses determine” because “[t]hose cases have already been discussed in caucus”




Retirement Plan documents. Waiver is permitted when the Committee or Board finds a player is
“physically or mentally incapacitated in a manner that substantially interferes with the filing of such
claim.” Dkt. 16 at CLOUD-AR-037 at §5.7(b) (emphases added).
206
    Mr. Smith has no idea whether the Board consulted a medical professional in Cloud’s case, knows the
Board did not refer Cloud for a PET scan, and does not know if the Board has ever requested one in any
case. App.702-03 (165:24 – 166:18), App.704-05 (173:3 – 174:7, 175:2-25, 176:1-17), App.706 (180:19 –
181:2), App.713-14 (208:15 – 210:9), App.717 (222:3-23). Cass even said “we are such at an early stage,
we just don’t know enough right now about anything” regarding the effect of multiple concussions and “I
don’t think anything’s quite definitive yet” about head trauma causing a progression of symptoms.
App.550-51 (138:18 – 139:10, 144:8-22). However, Cass admitted “look, you cannot play in the [NFL]
without getting head trauma, and head trauma can be a problem … in future life.” App.526 (43:6-11). Cass
said the only question was Reclassification, but the Board would only refer Cloud to a neutral physician for
examination for an initial application for T&P Benefits – not for Reclassification, in which case Cloud
would need to submit medical evidence to corroborate his complaints. App.547 (126:1-12).
207
    Mr. Smith observed that Changed Circumstances is not defined in the Plan, but uses as a definition a
“new or different impairment” though he does not know who created it: “we don’t write these things.
They’re written by people that have to defend the language of the plan. And that’s why we have legal
advisors writing and updating, evolving these rules.” App.711 (198:11 – 199:21). Asked whether a new
concussion symptom can be a new or different impairment, Mr. Smith “can’t say” but shared his view that
“it doesn’t seem like a different impairment to me. It sounds like a deterioration of a -- of a condition or an
evolution of a condition.” App.711 (199:22 – 200:5). Likewise, “clear and convincing” is not defined in
Plan, nobody has given him a definition, and the Board has not developed one. App.712 (204:13 – 205:22).
208
    App. 689-91 (112:25 – 113:11, 115:24 – 118:7), App.703 (166:24 – 167:15, 168:7-13), App.714
(211:13-23); App.553 (150:23 – 151:11).
                                                      35
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                   Page 44 of 73 PageID 29327



(“Board Meeting”). 209 The lack of Board member interest in conducting an ERISA-compliant

decision-making process reflects their general attitude toward Plan benefits. Mr. Smith stated it is

very expensive for Defendant to pay retired players and he is not aware of the Board granting a

single application for Reclassification during his 10+ years on the Board. 210 When asked why

players are denied Active Football when suffering NFL-related cognitive impairments, Mr. Smith

disregarded the express Plan provisions and explained: “it’s more money than I make a year … I

just respectfully disagree with you that just because somebody received an injury while playing

the game that later led to a total and permanent disability, that that person deserves active football,

because conditions deteriorate, even – I mean, I’ve seen it with my knee.” 211

       5.      The Board Minutes. It is unclear who took notes for the Board minutes, 212 but the

minutes reflect only that it “denied [Cloud’s] appeal for reclassification to the Active Football

category for failure to meet the requirements of Plan section 5.7(b)” (“Board Minutes”). 213 The

Board Minutes do not reflect how the Board came to their decisions because “that’s not the way

the Board meeting is conducted”…“there are 50, 60 cases, so each case isn’t mentioned

specifically as to why it was approved or denied.” 214 Nothing besides the Board Minutes is

communicated to the PBO, a draft of which Groom prepared based on its attendance of only the

Board Meeting (without additional input from Board members) and sent to the PBO two months

later for approval at the next Board meeting. 215

       6.      The 2016 Appeal Decision Letter. Even though the Board Meeting and Board


209
    App.687-88 (105:19-25, 106:1 – 107:23, 108:9-25), App.717-18 (224:7-20, 226:22 – 227:4).
210
    App.694-95 (132:6-17, 135:9-12).
211
    App.716 (219:4 – 221:15).
212
    App.687 (104:24 – 105:3).
213
    App.5056-57; App.673 (49:2-6).
214
    App.687 (105:4-18).
215
    App.363 (102:18 – 103:1); App.8327-35; App.8336-44; App.673 (47:12 – 48:2), App.686-87 (101:16 –
105:3), App.717-18 (223:17 – 224:6, 226:11 – 227:4).
                                                    36
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 45 of 73 PageID 29328



Minutes involved no material explanation for the Board’s denial of Cloud’s 2016 Appeal, the

Board was required to notify Cloud of its decision no later than 5 days after the Board Meeting

and state the specific reason, the scientific/clinical judgment and application of Plan terms to his

circumstances, and the role of applicable Plan provisions and internal rules. 216 The Board

previously approved a standing “form” or “template” decision letter because the foregoing ERISA

regulations place it “under a lot of pressure to get the letters out quickly” and the Board delegates

and, without reviewing, assumes Groom accurately prepares the decision letters. 217 Consequently,

shortly before lunch on November 16, 2016 (after the morning Board Meeting for claims

decisions), Maroz, who was not one of the Groom Attendees of the Board Meeting, asked Vincent

for the final decisions. 218 Vincent began summarizing the decisions, ignored what actually took

place at the Board Meeting, and emailed Marshall: “Cloud you’re denying for no change of

circumstance. It could technically be untimely appeal at 182 days. Otherwise, both denials.”219

Marshall responded: “I knew I saw that in the case, but when we discussed it they all looked at me

like I was crazy.” 220 Vincent replied: “Good enough for me[.]” 221 Within the hour, Vincent emailed

the “decision sheet” to all PBO staff. 222 As to Cloud, it reflected denial of his 2016 Appeal with

the “[e]xplanation” being “[n]o clear and convincing evidence of changed circumstances[.]”223

Vincent immediately forwarded it to Groom (Maroz). 224 Vincent then emailed Richard and Banks

his account of the NFLPA-side Marshall Decisions, private caucus, and Board Meeting:


216
    29 CFR 2560.503-1(i)(3)(ii), (5); 29 CFR 2560.503-1(j); Dkt. 16 at CLOUD-AR-062 at § 12.6(a).
217
    App.675-76 (54:2-16, 56:20 – 58:7, 58:11-14), App.682 (82:8 – 85:9), App.672 (43:1 – 44:15); App.562
(45:6-13), App.557 (166:17-24).
218
    App.8313.
219
    App.5790.
220
    App.5790.
221
    App.5790; App.8313.
222
    App.8309.
223
    App.8310.
224
    App.8313-16.
                                                  37
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                   Page 46 of 73 PageID 29329



       Elton/Elise – the meeting was pretty uneventful. Elton, you may remember how
       much banter we had during your pre-meeting, this time, it was done in like 10
       minutes with no issues. Fortunately, all of the work we did to get our cases up
       right away, us providing them needed notes, and because of that Bethany/Belinda
       communicated a lot prior and pretty much had the cases ready to go.

       We will wait for Grooms letters – I again have them doing all letters approving and
       denial. Makes it easier for now until our full staff is up and running.225

On November 18, 2016, Groom (Maroz) sent Vincent a draft denial letter as to Cloud’s 2016

Appeal. 226 Even though Maroz was unable to join the Groom Attendees at the Board Meeting in

Atlanta and Vincent’s “[e]xplanation” to her included only “[n]o clear and convincing evidence of

changed circumstances[,]” Maroz sent Vincent a Groom draft denial letter that included new

explanations and grounds for denial. 227 Defendant was obligated to notify Cloud of its decision no

later than 5 days after the Board Meeting (i.e., by November 21), but Vincent did a “spot check”

on November 23 and realized Cloud’s denial letter had not been mailed. 228 Vincent advised a PBO

executive assistant that the denial letter was “good to go” and “when you get a chance, please mail

it out.” 229 The PBO executive assistant responded “[s]orry. I never saw Cloud. It will go out

today[,]” and 30 minutes later Miller emailed that he just signed it. 230 On November 23, 2016, the

finalized letter written by Groom (Maroz), and without input or review by the Board, was mailed

to Cloud denying his 2016 Appeal (“2016 Appeal Decision Letter”). 231 Besides the 2016 Appeal

Decision Letter being noncompliant on its face, 232 it is filled with errors.

       First, the 2016 Appeal Decision Letter purports to reflect what the Board reviewed,


225
    App.8317 (bold emphasis added).
226
    App.8318-24.
227
    App.8319-24.
228
    App.8325. This tardy mailing was a violation of the Plan and ERISA. See supra at n. 216.
229
    App.8325.
230
    App.8325-26.
231
    Dkt. 16 at CLOUD-AR-518-23; App.357-58 (85:21 – 88:5); App.674-75 (52:12 – 55:1, 56:6-19),
App.684 (91:2-4), App.717 (222:24 – 223:5); App.526 (42:4 – 45:17), App.557 (166:7-19).
232
    See, e.g., 29 CFR § 2560.503-1(g)(1)(i)-(v)(A); 29 CFR § 2560.503-1(j)(1)(2),(5)(i).
                                                  38
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 47 of 73 PageID 29330



determined, and noted – none of which took place before, during, or after the Board Meeting. This

is further reflected by the fact that the Groom lawyer who prepared it was not one of the Groom

Attendees at the Board Meeting and received only a “decision sheet” from Vincent that stated only

“[n]o clear and convincing evidence of changed circumstances” (“Groom Fabricated Board

Positions”). As Cass testified, a claimant has one way to discover if the decision letter reflects the

Board’s actual decision: “they would know if they – if they sued us. So, if someone went to court,

they would find out, as you have done, … what’s in the board decision and what’s in the letter.”233

       Second, the 2016 Appeal Decision Letter acknowledges the Committee Reliance on SSA

Award that resulted in the prior award of Inactive A (T&P Benefits), 234 but the 2016 Appeal

Decision Letter thereafter implicitly excused the failure to refer Cloud to a neutral physician by

mischaracterizing the prior award as based on the other of the Two Grounds for T&P Disability,

entirely omitting Section 5.2(b) (“Social Security Awards”) from the enclosure of “Relevant Plan

Provisions”, 235 including Section 5.2(a) (“General Standard”) as the relevant Plan provision, and

arguing the 2016 Appeal was based on the same impairments listed in the 2014 Application.236

The purpose of this “switcharoo” was to imply no need for a medical review of Cloud’s Cognitive

Impairments because that the Committee previously evaluated the same impairments when it

awarded Inactive A (T&P Benefits) in 2014 (“Groom Cover for No Medical Review”).

       Third, the 2016 Appeal Decision Letter asserts the definition of Changed Circumstances

means a “new or different impairment [that] arose while [Cloud was] an Active Player” that

subsequently caused a T&P Disability “‘shortly after’ it first” … the sentence abruptly ends



233
    App.557 (166:25 – 167:14).
234
    Dkt. 16 at CLOUD-AR-284, 518.
235
    The Plan and ERISA require relevant plan provisions be in the letter. 29 CFR § 2560.503-1(g); 29 CFR
§ 2560.503-1(j); Dkt. 16 at CLOUD-AR-061 at § 12.6(a); App.686 (98:23 – 100:21).
236
    Dkt. 16 at CLOUD-AR-518-23.
                                                  39
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                   Page 48 of 73 PageID 29331



there. 237 Defendant has never previously interpreted Changed Circumstances to require a “new or

different impairment” that arose while the former player was still playing (“Groom

Reinterpretation of Changed Circumstances”). The failure to explain any rational basis for the

Board’s decision or provide a description of information needed (and why) to perfect the claim for

T&P Benefits (Active Football) was a violation of the Plan and ERISA 238 (“Third T&P Benefits

ERISA Notice Violation”).

       Fourth, the 2016 Appeal Decision Letter states the Board determined Cloud’s 2016 Appeal

was “untimely” based on Defendant’s records, none of which is true. The Board did not make that

finding, email communications between Vincent and Marshall after the Board Meeting prove they

did not (Vincent ultimately did not include it in the “decision sheet” emailed to Maroz), and

nothing in the AR reflects Defendant’s supporting “records” as to when Cloud actually received

the 2016 Decision Letter triggering his appeal timeline. 239 Even Cass and Mr. Smith confirmed

they saw no such supporting records. 240 The Untimeliness Argument appeared in the 2016 Appeal

Decision Letter only because Maroz, who dwelled on it in each of her Summary One, Summary

Two, and Summary Three, unilaterally decided to include it again in the 2016 Appeal Decision

Letter. In support of the Untimeliness Argument, the 2016 Appeal Decision Letter cites Section

13.3 of the Plan – which does not exist.241 That provision is in the NFL Player Disability &

Neurocognitive Benefit Plan, which has nothing to do with Cloud’s claim (“Groom Reliance on

Wrong Plan”). Even today, Board members offer post hoc grounds for denial – Mr. Smith argued

Section 5.8 (payments) provides a “hard and fast rule” Defendant cannot go back more than 36


237
    Dkt. 16 at CLOUD-AR-519.
238
    29 CFR § 2560.503-1(j); Dkt. 16 at CLOUD-AR-062 at § 12.6(a).
239
    App.720-21 (237:18 – 238:6). On at least one other occasion, a FedEx package addressed by Defendant
to Cloud was delivered to and signed for by an unknown person – a “N. Murray[.]” App.8345-48.
240
    App.593 (313:2-14); App.721 (239:19 – 240:6); Dkt. 16 at CLOUD-AR-524.
241
    Dkt. 16 at CLOUD-AR-523; App.721 (240:7 – 241:19).
                                                  40
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                   Page 49 of 73 PageID 29332



months from a filing date to designate the start of a T&P Disability (even though absent in the

2016 Appeal Decision Letter). 242

       Fifth, the 2016 Appeal Decision Letter states “[t]he evidence [Cloud] submitted does not

show that [he is] totally and permanently disabled” (“Groom Denial of Cloud’s Existing

Disability”), 243 which Defendant recently admitted is false: “[t]here is, of course, no dispute over

whether [Cloud] is totally and permanently disabled … so there is no inconsistency with the facts

of this case ….” 244 Every one of Defendant’s deponents admitted Cloud suffered a T&P Disability

as a result of his career in the NFL (or could not otherwise deny it). 245

IV.    Defendant Begins Slow Disclosure of Medical and Other Records.

       In December 2018, Cloud asked the PBO for “a copy of my file with respect to all the

applications that either I or an attorney filed for on my behalf[,]” and the PBO forwarded the

request to Groom. 246 In its Motion, Defendant mischaracterizes this request in what can only be

described as an excuse to dismiss the fact that Defendant still has not produced all of the requested

files: “Cloud was not looking for missing records or records ‘relevant’ to the Committee or Board’s

decisions on his 2014 T&P application or his 2016 request for reclassification.” Motion at 25. Both

Banks and Richard advised that Cloud’s file was complete. 247 The PBO shortly thereafter

forwarded “all of the reports from [Cloud’s] evaluations with the Plan’s neutral physicians” 248 –

not what Cloud had requested. Nonetheless, for the first time, Cloud received a copy of the




242
    App.685-87 (95:3 – 97:25, 99:20-23, 100:22 – 101:3, 101:16 – 102:7), App.692-93 (125:6 – 126:12,
127:21-23), App.718-20 (228:8 – 231:18, 234:17 – 235:20).
243
    Dkt. 16 at CLOUD-AR-519.
244
    Dkt. 149 at 5.
245
    App.221 (234:13 – 237:21); App.33-34 (125:18 – 126:5); App.553 (150:23 – 151:11); App.714 (210:10
– 212:3); App.418 (326:12 – 328:20).
246
    App.2558-62; App.3440-42.
247
    App.3735-37.
248
    App2563; App.3462.
                                                  41
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                        Page 50 of 73 PageID 29333



(unaltered) Mandelbaum Report. 249 The PBO also sent only the medical records Cloud already

provided them when he applied for benefits. 250 Groom produced a link for Cloud to download “a

complete copy of [his] file” from a law firm link hosting his file 251 (all of the foregoing part of the

“Slow Disclosure of Records”).

V.      Cloud Lawsuit.

        On May 15, 2020, Cloud filed his Complaint in this lawsuit bringing claims under

ERISA. 252 On October 22, 2020, Defendant produced the AR, and on January 5, 2021, Defendant

filed it – but it reflected only 529 pages. 253 Since that date, Defendant has produced thousands of

pages of documents that should have been included in the AR, 254 which even Committee members

question, 255 and Cloud has struggled to obtain cooperation from the NFL and NFLPA to produce

documents even in the context of this proceeding. In retrospect, the Committee was surprised to

learn this process failed for Cloud. 256 Reynolds was uncertain why the PBO did not provide Cloud

access to his files and, instead, an administrative assistant at Groom did so. 257 Ms. Smith said

players may have told her of difficulties getting their records and she would have directed them to

the PBO. 258


249
    App.2566; App.2574; App.2576.
250
    App.2563.
251
    App.2491.
252
    Dkt. 1.
253
    Dkt. 16; Dkt. 28 at 1.
254
    App.28 (103:3 – 105:17), App.49 (187:18 – 189:9). The AR filed by Defendant is vastly different than
the productions it made in this case that show thousands of pages of records that were not provided to the
Committee or Board, including large portions of 3,000+ pages produced as recently as January 28, 2022
255
    App.242 (318:22 – 319:6; 318:12 – 321:21).
256
    Reynolds was surprised to learn that Cloud had been referred to the PBO to get his medical records and
had not been provided medical reports until as late as 2019 because, respectively, those instructions would
be improper and the PBO should have complied with that request. App.202-03 (161:17 – 162:6), App.238
(304:14 – 305:11), App.242 (318:12 – 320:20), App.256 (376:15 – 377:8). The player should be referred
to the teams, but if he is not or a related dispute arises between the player and PBO then Reynolds is unaware
of it ever being brought to the attention of the Committee. App.227 (261:13-18), App.229 (267:1-17).
257
    App.256 (374:14-22).
258
    App. (Ex. 10.; Ex. 11; Ex. 12; Ex. 20; Ex. 29).
                                                     42
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                          Page 51 of 73 PageID 29334



                IMPROPER USE OF MOTION FOR SUMMARY JUDGMENT (FRCP 56)

        The appropriate standard of review is de novo and summary judgment under FRCP 56 is

inappropriate. The Fifth Circuit recently evaluated resolution of ERISA claims subject to de novo

review. 259 In Kearney, cited by the Fifth Circuit, 260 the Ninth Circuit determined a district court is

authorized to try the case in a “bench trial on the record.” 261 Unlike summary judgment, “[i]n a

trial on the record ... the judge can evaluate the persuasiveness of conflicting testimony and decide

which is more likely true,” and make findings of fact under Rule 52. 262

                                          STANDARD OF REVIEW

I.      De Novo Standard Applies.

        The default rule is denials of ERISA benefits are reviewed under a de novo standard. 263

Under the de novo standard, the district court’s essential task “is to determine whether the


259
    See Katherine P. v. Humana Health Plan, Inc., 959 F.3d 206, 208 (5th Cir. 2020) (citing Koch v. Metro.
Life Ins. Co., 425 F. Supp. 3d 741, 746–47 (N.D. Tex. 2019) (canvassing the different approaches)).
260
    The Fifth Circuit acknowledged authority that a district court may review the AR and make findings of
fact and conclusions of law. See Katherine P., 959 F.3d at 209-10 (citing Kearney v. Standard Ins. Co., 175
F.3d 1084, 1094–95 (9th Cir. 1999) (en banc) (discussing that procedure)).
261
    Id. at 1095.
262
    See id.; see also Avenoso v. Reliance Std. Life Ins. Co., 19 F.4th 1020, 1026 (8th Cir. 2021) (“[p]arties
that wish the district court to exercise its factfinding function under Federal Rules of Civil Procedure 39(b)
and 52(a)(1) to decide the case on the administrative record should ask the district court to do exactly that.”);
Patton v. MFS/Sun Life Fin. Distribs., Inc., 480 F.3d 478, 484 n.3 (7th Cir. 2007) (“Those who wish to
ensure that a judgment [in an ERISA-benefits case] is treated with the deference due the result of a bench
trial are advised to eschew Rule 56 and stick to Rule 52(a).”); see also Hodge v. Guardian Life Insurance
Company of America, Civil Action No. 4:20-CV-2088, 2021 WL 5142793, *1 (S.D. Tex. Sept. 10, 2021)
(“the appropriate way to resolve this dispute is by making findings of fact and conclusions of law consistent
with Rule 52 based on the administrative record and briefing”); Gray v. Minnesota Life Ins. Co., No. CV
H-19-4672, 2021 WL 861298, at *3 (S.D. Tex. Mar. 8, 2021) (“In the context of an ERISA claim, ‘using
Rule 52 is effective ... because courts may resolve factual disputes and issue legal findings without the
parties resorting to cross motions for summary judgment.’”) (citation omitted); Ingerson v. Principal Life
Ins. Co., Civil Action No. 2:18-cv-227-Z-BR, 2020 WL 3163074, *1 n.3 (N.D. Tex. May 13, 2020) (making
recommended findings of fact and conclusions of law pursuant to Rule 52 where parties requested trial on
the administrative record and briefing); Batchelor v. Life Ins. Co. of N. Am., 504 F. Supp. 3d 607, 610 n.2
(S.D. Tex. 2020) (“Courts have noted that a trial on the papers under Rule 52(a) is effective in the ERISA
context because courts may resolve factual disputes and issue legal findings without the parties resorting to
cross motions for summary judgment.”); see generally Terry v. Hartford Life and Accident Insurance
Company, Civil No. 6:17-CV-00050-ADA, 2018 WL 11347194 (W.D. Tex. Oct. 16, 2018).
263
    See Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 115, 109 S.Ct. 948, 103 L.Ed.2d 80 (1989).
                                                       43
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                      Page 52 of 73 PageID 29335



administrator made a correct decision.” 264 The court must “independently weigh the facts and

opinions in the AR to determine whether the claimant has met his burden of showing that he is

disabled within the meaning of the policy.” 265 It must also “resolve questions of material fact,

assess expert credibility, and—most critically—weigh the evidence.” 266 “The administrator’s

decision to deny benefits ‘is not afforded deference or a presumption of correctness.’” 267 “Put

simply, the [c]ourt must ‘stand in the shoes of the administrator and start from scratch, examining

all the evidence before the administrator as if the issue had not been decided previously.’” 268

II.     Alternative Stripping of Deference Under Abuse of Discretion Standard.

        Even in the face of lawful delegation of discretion, 269 Firestone deference may be stripped

if the administrator “acted in bad faith or would not fairly exercise his discretion to interpret the

terms of the Plan.” 270 In Conkright, the Court observed: “[A] trustee may be stripped of deference

when he does not exercise his discretion ‘honestly and fairly.’ Multiple erroneous interpretations

of the same plan provision…might well support a finding that a plan administrator is too

incompetent to exercise his discretion fairly, cutting short the rounds of costly litigation[.]” 271


264
    Revels v. Standard Ins. Co., 504 F. Supp. 3d 556 (N.D. Tex. 2020) (quoting Pike v. Hartford Life &
Accident Ins. Co., 368 F. Supp. 3d 1018, 1030 (E.D. Tex. 2019) and Niles v. Am. Airlines, Inc., 269 F.
App’x 827, 832 (10th Cir. 2008)).
265
    Pike, 368 F. Supp. 3d at 1030.
266
    Id. at 1035 (quoting Weisner v. Liberty Life Assurance Company of Boston, 192 F. Supp. 3d 601, 614
(D. Md. 2016)).
267
    Koch v. Metro. Life Ins. Co., 425 F.Supp.3d 741, 745 (N.D. Tex. 2019).
268
    Byerly v. Standard Ins. Co., No. 4:18-CV-00592, 2020 WL 1451543, at *18 (E.D. Tex. Mar. 25, 2020);
see also Ariana M. v. Humana Health Plan of Texas, Inc., No. CV H-14-3206, 2018 WL 4384162, at *12
(S.D. Tex. Sept. 14, 2018), aff’d by 792 F. App’x 287 (5th Cir. 2019) (stating “[d]e novo review requires
that the court apply the same standard as the plan administrator in deciding whether the benefits were owed
under the plan’s terms.”).
269
    See Ariana M. v. Humana Health Plan of Tex., Inc., 884 F.3d 246, 247 (5th Cir. 2018) (citing Firestone,
489 U.S. at 115); Revels, 504 F. Supp. 3d at 560.
270
    Conkright v. Frommert, 559 U.S. 506, 515 (2010).
271
    Id. at 521 (citations omitted); Atkins v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 694 F.3d 557, 567
(5th Cir. 2012) (discussing same and citing Conkright); see also Burell v. Prudential Ins. Co. of Am., 820
F.3d 132, 138 (5th Cir. 2016) (acknowledging issue); Lafleur v. Louisiana Health Service and Indemnity
Co., 563 F.3d 148, 159 (5th Cir.2009) (same); Abatie v. Alta Health & Life Ins. Co., 458 F.3d 955, 971 (9th
                                                    44
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                      Page 53 of 73 PageID 29336



        In our case, Defendant must be stripped of all discretion. First, the Board (and the

Committee) exceeded the boundaries of stated discretion under the Plan by not considering the

substance of any of the 2016 Appeal and ceding all claims handling to lawyers. Second, the Board

(and the Committee) acted in bad faith (or, at a minimum, failed to exercise discretion honestly

and fairly) and did not (and will not) fairly construe the Plan’s terms or determine Cloud’s

eligibility for benefits. The Board (and its counsel Groom) have demonstrated multiple erroneous

interpretations of Plan provisions and obligations under ERISA, a willingness to increase rounds

of costly litigation as part of the claims process, 272 and a failure to supervise or monitor the PBO,

Groom, Marshall, or Lerner, and in fact has participated in or knowingly allowed their violations


Cir.2006) (“[w]hen an administrator engages in wholesale and flagrant violations of the procedural
requirements of ERISA, and thus acts in utter disregard of the underlying purpose of the plan as well, we
review de novo the administrator’s decision to deny benefits. We do so because, under Firestone, a plan
administrator’s decision is entitled to deference only when the administrator exercises discretion that the
plan grants as a matter of contract.”).
272
    As addressed in Cloud’s Motion to Disqualify the Groom Law Group and Brief in Support, Dkt. 56 at
11-29, and Motion for Judgment and Brief in Support, Dkt. 155, 156 at 55-56, Defendant repeatedly treats
lawsuits as part of its claims handling process and disregards numerous judgments regarding how they
handle claims. See, e.g., Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 855 Fed. Appx. 332, 333-
34 (9th Cir. Aug. 10 2021) (Dimry II); Keys v. Bert Bell/Pete Rozelle NFL Player Retirement Plan, 493 F.
Supp. 3d 1147, 1176 (M.D. Fla. 2020); Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, No. 16-CV-
01413-JD, 2018 WL 1258147 at *1 (N.D. Cal. Mar. 12, 2018) (“Dimry I”); Giles v. Bell/Pete Rozelle NFL
Player Ret. Plan, 925 F.Supp.2d 700, 721-22 (D.Md. 2013). Defendant ignored the ruling in Giles
(prohibiting the Board’s reliance on its Medical Director’s recommendations), relied on the medical director
in Dimry I & II, ignored a federal judge’s “suggestions” (i.e., judgment) in Dimry I, and during a hearing
Mr. Junk told the judge in Dimry II that there was “additional evidence . . . that disproves the premise
of Judge Donato’s holding” and, when asked why Defendant did not allow Dimry to participate on
remand, answered “[t]hat’s what we have essentially here now, Your Honor, with this second round
of litigation. We’re seeing his response.” Id. The court ruled: “The Board’s glaring procedural error of
conducting its review of Mr. Dimry’s appeal in secret and then, after denying his appeal, refusing even then
to engage in a meaningful dialogue and instead telling Mr. Dimry to file a lawsuit is reason alone to find
that the Board abused its discretion.” Dimry v. Bert Bell/Pete Rozelle NFL Player Retirement Plan, 487 F.
Supp. 3d 807, 819 (N.D. Cal. 2020) (“the Board is reminded of its obligation to provide Mr. Dimry a full
and fair opportunity to participate in the process.”). Defendant appealed and lost again. Dimry v. Bert
Bell/Pete Rozelle NFL Player Ret. Plan, 855 Fed. Appx. 332, 333-34 (9th Cir. Aug. 10 2021) (“the Plan
excluded Dimry from dialogue about Dr. Jackson’s reports and told Dimry to revise his lawsuit rather than
discuss the changes with the Plan[.]”). Defendant has learned nothing from these admonishments. Here,
Board member Cass explained how a claimant can discover if his decision letter reflects the Board’s actual
decision: “they would know if they – if they sued us. So, if someone went to court, they would find out,
as you have done, … what’s in the board decision and what’s in the letter.” App.557 (166:25 – 167:14).
                                                    45
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                          Page 54 of 73 PageID 29337



of Plan terms and ERISA requirements. Naturally, Defendant disputes that ERISA requires any

training, supervision, or monitoring of fiduciaries or delegees. But the law on this issue is clear. 273

Defendant (and Groom) know all of this. Groom prepared and oversees a Plan document that

includes absolutely no procedures for supervision or monitoring of delegees, and a Plan process

that incorporates none of the above legal requirements. 274 Even if not intentional, at a minimum,

the Board has shown itself sufficiently incompetent to exercise discretion fairly. Based upon the

above-stated facts and arguments below, this Court should employ a de novo standard of review.

III.    Alternative Abuse of Discretion Standard: Structural Conflict.

        In the alternative, if the Court finds Defendant is entitled to review of the Motion under

abuse of discretion, the Supreme Court has recognized that a plan administrator that both evaluates

claims and pays claims for benefits has a structural “conflict of interest,” and that “a reviewing

court should consider that conflict as a factor in determining whether the plan administrator has

abused its discretion in denying benefits.” 275 “A structural conflict may prove more important

(perhaps of great importance) where circumstances suggest a higher likelihood that it affected the

benefits decision, such as where an administrator has a history of biased claims administration, or

where circumstances surrounding the plan administrator’s decision suggest procedural

unreasonableness.” 276 In other words, “[t]he greater the evidence of conflict on the part of the




273
    See In re Enron Corp. Securities, Derivative & ERISA Litig., 284 F.Supp.2d 511, 572 (S.D. Tex. 2003).
274
    Dkt.16 at CLOUD-AR-050 at §8.2(f).
275
    Id. at 108, 128 S.Ct. 2343 (citing Firestone, 489 U.S. at 115, 109 S.Ct. 948); see also Vega v. Nat’l Life
Ins. Servs., Inc., 188 F.3d 287, 295 (5th Cir. 1999) (en banc), overruled on other grounds by Metro. Life
Ins. Co. v. Glenn, 554 U.S. 105, 128, 128 S.Ct. 2343, 171 L.Ed.2d 299 (2008) (stating a plan administrator
that both insures and administers the plan “is self-interested, i.e., the administrator potentially benefits from
every denied claim”).
276
    Nichols v. Reliance Standard Life Ins. Co., 924 F.3d 802, 813 (5th Cir. 2019) (internal quotations and
citations omitted).
                                                       46
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                        Page 55 of 73 PageID 29338



administrator, the less deferential [the court’s] abuse of discretion standard will be.” 277

                                     ARGUMENT AND AUTHORITIES

I.      Summary of the Argument

        Cloud has asserted a claim for benefits under ERISA, which provides a participant may

bring an action “to recover benefits due to him under the terms of his plan, to enforce his rights

under the terms of the plan, or to clarify his rights to future benefits under the terms of the plan.” 278

II.     The Decision to Deny Cloud’s 2016 Appeal Violated the Plan and ERISA, and is Not
        Supported by Substantial Evidence.

        As mentioned in the Introduction, Defendant argues three Plan rules led to the denial of

Cloud’s 2016 Appeal: (A) the Untimeliness Argument, (B) the argument Cloud did not satisfy the

Changed Circumstances provision, and (C) the argument Cloud failed to show his T&P Disability

arose within 6-12 months after his initial disability arose.

        A.       Cloud’s administrative appeal was timely, the Board did not find otherwise,
                 and Groom (and another lawyer) fabricated the Untimeliness Argument.

        In Defendant’s Motion, it makes the Untimeliness Argument – that “Cloud’s appeal was

two days late. . . . A deadline is a deadline. It is met, or it is missed. The Board does not have

authority to waive the terms of the Plan.” Motion at 31. That integrity in honoring the Plan terms

apparently does not apply to the Board itself, considering that it was the Board who was “two days

late” in mailing the 2016 Appeal Decision Letter to Cloud – a violation of federal law.



277
    Vega, 188 F.3d at 297; see also Ellis v. Liberty Life Assurance Co. of Boston, 394 F.3d 262, 270 (5th
Cir. 2004), cert. denied, 545 U.S. 1128, 125 S.Ct. 2941, 162 L.Ed.2d 867 (2005) (“The degree to which a
court must abrogate its deference to the administrator depends on the extent to which the challenging party
has succeeded in substantiating its claims that there is a conflict.”).
278
    29 U.S.C. § 1132(a)(1)(B); see also 29 U.S.C. § 1132(a)(3) (“to enjoin any act or practice which violates
any provision of this subchapter or the terms of the plan, or … to obtain other appropriate relief … to redress
such violations or … to enforce any provisions of this subchapter or the terms of the plan”); 29 U.S.C. §
1132(2) (requiring the plan to provide a reasonable opportunity for a full and fair review of a denial of
benefits).
                                                      47
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                       Page 56 of 73 PageID 29339



        Hypocrisy aside, the 2016 Appeal Decision Letter purportedly denied Reclassification

based upon the Untimeliness Argument pursuant to Section 12.6(a) of the Plan, 279 which provides

“[t]he claimant will have 180 days from the receipt of an adverse determination to file a written

request for review of the initial decision to the Retirement Board.” 280 The AR reveals two things

on this issue: (1) the Board did not “determine[] that [Cloud’s] appeal was untimely under Section

12.6(a)” (i.e., the Untimeliness Argument) as alleged in the 2016 Appeal Decision Letter; instead

Groom, the PBO (Vincent), and NFLPA lawyer fabricated it for denial before and after the Board

meeting (Marshall: “when we discussed it they all looked at me like I was crazy”; Vincent: “Good

enough for me[.]”) 281 and (2) nothing in the AR evidences when Cloud actually received the 2016

Decision Letter. 282 Defendant cites to an email among PBO staff that includes multiple levels of

hearsay, but appears to be neither part of the AR nor before this Honorable Court. 283

        Cloud confirmed the 2016 Decision Letter was received on May 6, 2016 and, thus, the

filing of his appeal was timely. 284 To the extent Cloud has any burden to refute Defendant’s

Untimeliness Argument, Defendant never provided Cloud a tracking number for its 2016 Decision


279
    Dkt. 16 at CLOUD-AR-520.
280
    Id. at CLOUD-AR-61.
281
    App.5790.
282
    Defendant’s own standard for receipt of documents from players requires “actual receipt” by the Board
and, thus, it is only logical that the same standard would apply to a player’s “actual receipt” of documents
from the Board. Dkt. 16 at CLOUD-AR-064 at § 12.8.
283
    The email (XFILE-2195) apparently was buried among another 3,000+ pages Defendant produced on
January 28, 2022 – over 1 year after Defendant filed the initial AR. Rather than blindly request all 3,000+
pages made part of the AR when Cloud filed his Motion for Leave to File Third Supplemental Motion to
Supplement the Administrative Record [Dkt. 142], Cloud filed the handful of documents he was able to
identify in the short time-period allowed by the tardy production – shortly after the deadline to supplement
the AR (February 10, 2022). [Dkt. 114]. The email cited by Defendant was not included and is not part of
the AR. Besides the fact that the email is not in the AR, was not considered by any Board/Committee
member, and includes multiple levels of hearsay regarding the purpose for which Defendant cites it (to
which Cloud hereby objects if Defendant seeks to include it in the AR), this is illustrative of the fact that
Defendant does not actually maintain an administrative record of the claims its handles. It sloppily compiles
them in an ad hoc manner only when litigation ensues. Here, we are nearing 2 years since this lawsuit was
filed and Defendant still has not provided this Court with a complete AR.
284
    App.988-90 (211:20 – 213:7), App.1142 (Errata).
                                                     48
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                          Page 57 of 73 PageID 29340



Letter and both Cloud and Jennifer testified packages often sit outside on their porch for days at a

time. Consequently, there is no evidence in the AR to show when the FedEx package was left (by

its Noncompliant Transmittal) to support the Untimeliness Argument as a basis for denial.

        B.       Cloud’s 2016 Application for Reclassification satisfied the Changed
                 Circumstances requirement – even as to All the Various Inconsistent Ways in
                 Which Defendant (i.e., Groom) has defined it.

                 1.       The Board interprets Changed Circumstances in numerous ways and
                          Cloud satisfies all of them (at least the reasonable ones).

        The Plan includes undefined terms that govern Cloud’s request for Reclassification,

including the required clear and convincing showing of qualification for different benefits due to

evidence of Changed Circumstances. 285 All lawyers, including Groom as the Plan’s architect,

know that not defining key terms is a recipe for litigation. After all, almost 12 years ago, Groom

claims “the purpose of the clear and convincing evidence of changed circumstances standard is to

promote finality, and preclude further litigation.” 286 This should cause this Honorable Court to ask

why, then, is Changed Circumstances not defined anywhere – not even in Defendant’s own internal

documentation? Groom drafted the Plan, its terms, and most (if not all) of Defendant’s decision

letters. 287 Defendant’s decades-long secretive handling of how it defines Plan terms like this is an

open and direct violation of ERISA. 288



285
    Dkt. 16 at CLOUD-AR-037 at § 5.7(b).
286
    App.5444 (at 5447) (May 12, 2010).
287
    One month ago, Groom produced thousands of pages of decision letters from 1997 to the present. The
initials “glg” appear under many signature blocks, referring to “Groom Law Group”. Groom drafted the
earliest Reclassification decision letter in 1997. App.5535 (Oct. 22 ’97).
288
    See, e.g., 29 CFR § 2560.503-1(g)(1)(i)-(v)(A); 29 CFR § 2560.503-1(j)(1)(2),(5)(i). For example, 29
CFR § 2560.503-1(j)(5)(i) requires: “If an internal rule, guideline, protocol, or other similar criterion was
relied upon in making the adverse determination, either the specific rule, guideline, protocol, or other
similar criterion; or a statement that such rule, guideline, protocol, or other similar criterion was relied upon
in making the adverse determination and that a copy of the rule, guideline, protocol, or other similar
criterion will be provided free of charge to the claimant upon request[.]” This would include unwritten Plan
definitions. Defendant violated this in every decision letter to Cloud, including the 2016 Appeal Decision
Letter, and in countless decision letters to other denied claimants over the past 25+ years.
                                                       49
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                        Page 58 of 73 PageID 29341



        In its Motion, Defendant argues it has maintained a single definition of Changed

Circumstances, Motion at 32-33, 39-41, which is refuted by the facts (discussed below). Today, at

least for purposes of Cloud’s case, Defendant defines it as “a new or different impairment from

the one that originally qualified [him] for T&P benefits” (“Current Definition”). Motion at 32;

Dkt. 16 at CLOUD-AR-520. Of course, applying this definition, the very nature of the Committee

Review Failures and Committee Reliance on SSA Award reveals that Defendant did not

substantively consider any of Cloud’s impairments in relation to the 2014 Application and award

of Inactive A (T&P Benefits). 289 Defendant granted Cloud Inactive A (T&P Benefits) solely due

to the SSA Award and not any specific impairment. Thus, if Changed Circumstances means “a

new or different impairment from the one that originally qualified [him] for T&P benefits[,]” then

what impairments are we comparing (since Defendant never considered any in 2014)? Even if

Defendant wanted to argue that it could dive into the reasoning behind the SSA Award to parse

through the various impairments underlying the SSA Award, it did not do that in 2014 or 2016.

Defendant is a victim of its own affirmative decision to define Plan terms “on the go” and

predilection to massage definitions as it suits it in any given case. If this is their definition of

Changed Circumstances, then unfortunately for Defendant “[t]he Board does not have authority to

waive the terms of the Plan.” Motion at 31. Cloud satisfies Changed Circumstances.

        But that definition of Changed Circumstances is one of many used by Defendant in denying

Reclassifications. For over a decade (1997-2010), Groom caused Defendant to issue denial letters

in Reclassification appeals and never defined Changed Circumstances in any of those letters.290


289
   App.241 (314:11-20)
290
   Which is a violation of ERISA. See, e.g., 29 CFR § 2560.503-1(g)(1)(i)-(v)(A); 29 CFR § 2560.503-
1(j)(1)(2),(5)(i). The following decision letters reflect this failure to define Changed Circumstances for any
claimant, and includes parentheticals for those that included some rhetoric as to a definition. App.5495
(July 27, ’01); App.5464 (July 20, ’03); App.5525 (June 10, ’04); App.5531 (Nov. 23, ’04); App.5431
(April 14, ’05); App.5467 (Oct. 6, ’05) App.5527 (Oct. 28, ’05) (“Your arguments relate exclusively to
                                                     50
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                      Page 59 of 73 PageID 29342



One may only glean from the letters that the definition requires something other than evidence of

the existing condition that formed the basis of the original award (“Original Circumstances”).

The opinion in Boyd v. Bert Bell/Pete Rozelle NFL Player Ret. Plan 291 is the first instance in which

Groom advanced a definition on behalf of Defendant that was accepted by a court. The court in

Boyd accepted the definition as “a change in physical condition, not merely the availability of new

evidence regarding causation” even though the first clause was nowhere in the first two denial

letters Defendant sent to Boyd (“Change in Condition”). 292 In other words, Groom made it up

during the Boyd litigation. Thereafter, for the first time, just 3 months after the Boyd decision, a

definition appeared in an August 15, 2011 denial letter issued by Defendant wherein Groom

adopted “a change in the Player’s physical condition,” and further added “such as a new or

different disability” (“New/Different Disability”) and used it to deny yet another player’s

Reclassification 293. In the span of one case, Boyd, Defendant’s definition of Changed

Circumstances mutated from some abstract something (i.e., other than rearguing causation of the

Original Circumstances), to a Change in Condition (to enable denial of the claim in Boyd and

which could be a worsening of the Original Circumstances), to a New/Different Disability (to

enable denial of the claim in Bryant which could be what, another injury or new T&P Disability


matters in the past”); App.5625 (July 12, ’06); App.5461 (Aug. 7, ’07); App.5551 (Aug. 20, ’07);
App.5437 (Oct. 5, ’07) (“the new evidence … relate to the same condition that was the basis for the
original classification”) at issue in Atkins v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 694 F.3d 557,
563 (5th Cir.2012); App.5616 (Oct. 29, ’07); App.5479 (Nov. 15, ’07); App.5499 (Feb. 13, ’08); App.5423
(Feb. 13, ’08); App.5427 (May 9, ’08) (absent where evidence relates to “the same … impairments that
were the basis for your original award”); App.5486 (June 24, ’08) (absent where “same circumstances
and issues that existed when you were initially classified”); App.5555 (Dec. 22, ’08) (“all you have
done is to reargue the causation of the original circumstances”) at issue in Boyd v. Bert Bell/Pete Rozelle
NFL Player Ret. Plan, 796 F. Supp. 2d 682 (D. Md. May 24, 2011); App.5452 (March 18, ’09); App.5444
(May 20, ’10) (“involves the same circumstances as the initial classification”) also at issue in at issue in
Boyd, 796 F. Supp. 2d 682 (D. Md. May 24, 2011).
291
    796 F. Supp. 2d 682 (D. Md. May 24, 2011).
292
    App.5555 (Dec. 22, ’08); App.5444 (May 20, ’10).
293
    App.5470 (Aug. 15, ’11) at issue in Bryant v. Bert Bell/Pete Rozelle NFL Player Retirement Plan, Civ.
No. 1:12-cv-936-MHC, 2015 WL 13908103, at *3 (N.D. Ga. March 23, 2015).
                                                    51
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                       Page 60 of 73 PageID 29343



arising out of the Original Circumstances of the first T&P Disability?)

        The evidence shows Defendant allows Groom to manipulate the definition of Changed

Circumstances while refraining from formally defining it anywhere other than in denial letters and

dispositive motions in litigation against Plan beneficiaries. In almost every decision letter on

Reclassification, Defendant defines Changed Circumstances as something other than “Original

Circumstances”, a “Change in Condition”, a “New/Different Disability”, or in most cases offered

no definition at all. 294 In these latter cases (2011-2015), it appears the majority of players denied

Reclassification are left with no idea what Defendant is talking about in using the terms no


294
    App.5522 (Sept. 6, ’11) (no definition); App.5567 (Oct. 17, ’11) (no definition); App.5613 (Jan. 17, ’12)
(no definition); App.5601 (Feb. 27, ’12) (no definition); App.5474 (March 8, ’12) (“initially awarded T&P
benefits due to cognitive and psychiatric impairments. The []Board did not find evidence of total and
permanent disability due to other impairments in the materials you have submitted” … “additional
evidence about the same circumstances”); App.5570 (May 16, ’12) (no definition); App.5434 (May 24,
’12) (“same condition that initially qualified you”); App.5619 (June 7, ’12) (no definition); App.5582
(Sept. 4, ’12) (no definition); App.5591 (Oct. 10, ’12) (no definition); App.5564 (Dec. 10, ’12) (no
definition); App.5483 (Jan. 24, ’13) (no definition); App.5545 (Feb. 25, ’13) (“involves the same exact
circumstances that led to the original award of T&P benefits”); App.5622 (Feb. 28, ’13) (no definition);
App.5536 (May 22, ‘13) (“same condition that caused the initial award of T&P benefits”); App.5489
(Aug. 26, ’13) (means “a change in the player’s physical condition, such as a new or different
disability”); App.5573 (Oct. 16, ‘13) (no definition); App.5576 (Oct. 16, ‘13) (no definition); App.5579
(Oct. 16, ‘13) (no definition); App.5455 (Sept. 5, ‘13) (no definition); App.5630 (Feb. 7, ‘14) (no
definition); App.5627 (Feb. 13, ‘14) (no definition); App.5604 (March 31, ‘14) (no definition); App.5638
(April 10, ‘14) (no definition); App.5633 (April 22, ‘14) (no definition); App.5594 (June 18, ‘14) (no
definition); App.5607 (July 24, ‘14) (no definition); App.5505 (Sept. 2, ‘14) (no definition); App.5641 (Oct.
8, ‘14) (no definition); App.5610 (Oct. 22, ‘14) (no definition); App.5597 (Nov. 21, ‘14) (“Board has in
this case and all others interpreted ‘changed circumstances’ to mean a subsequent change in a
Player’s physical condition (such as a new or different impairment) that warrants a different
category of benefits”); App.5510 (March 9, ‘15) (“to mean a change in a Player’s physical condition –
such as a new or different impairment – that warrants a different category of benefits”); App.5262
(May 20, ‘15) (no definition); App.5399 (May 21, ‘15) (“to mean a change in a Player’s physical
condition – such as a new or different impairment – that warrants a different category of benefits”);
App.5516 (May 21, ‘15) (“to mean a change in a Player’s physical condition – such as a new or
different impairment – that warrants a different category of benefits”); App.5239 (June 29, ‘15) (no
definition); App.5259 (Nov. 3, ‘15) (“to mean a change in a Player’s physical condition (i.e., a new or
different impairment)”); App.5236 (Nov. 3, ‘15) (“to mean a change in a Player’s physical condition
(i.e., a new or different impairment)”); App.5395 (Dec. 1, ‘15) (“to mean a change in a Player’s
physical condition (i.e., a new or different impairment)”); App.5365 (Dec. 2, ‘15) (“to mean a change
in a Player’s physical condition – such as a new or different impairment – that warrants a different
category of benefits”); App.5410 (Dec. 21, ‘15) (“to mean a change in a Player’s physical condition
(i.e., a new or different impairment)”).
                                                     52
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                      Page 61 of 73 PageID 29344



Changed Circumstances, and if they want to find out then it plays directly into Defendant’s use of

litigation as part of its claims handling process – the players have to sue. Even then, in one case,

Groom (i.e., Mr. Junk) refused to explain a definition of Changed Circumstances for a beneficiary

because it would be an “advisory opinion.” 295 This is a plain violation of ERISA.

        Here, irrespective of whether we use the Current Definition or any of the “Original

Circumstances”, “Change in Condition”, or “New/Different Disability” definitions, Cloud’s

ailments and evolution of Cognitive Impairments was not the basis of his current award of Inactive

A (T&P Benefits), just as Defendant recognized in granting Reclassification in another case:

        “The Committee determined that, in the facts of your case, you met the
        requirements of Plan section 5.5(b) for reclassification, because you were initially
        awarded T&P benefits due to Crohn’s Disease, and you are now totally and
        permanently disabled due to your orthopedic impairments.” 296

This is consistent with Defendant’s wild fluctuations in definitions of Changed Circumstances in

the same Board Meeting as the one that “considered” Cloud’s 2016 Appeal. In one decision letter,

Defendant (i.e., Groom) defined it to mean “a new or different impairment from the one that

originally qualified you for T&P benefits.” 297 In another decision letter, Defendant (i.e., Groom)

defined it to mean “a new impairment that did not exist during the original application, or an

impairment that did exist but is different from the one that formed the basis of the original

award of T&P benefits.” 298 These inconsistent definitions originating in and set forth only in

decision letters that the Board/Committee members never read amounts to a gross violation of




295
    See Hudson v. Nat’l Football League Mgmt. Council, No. 18-cv-4483 (GHW) (RWL), 2019 WL
5722220 at *5 (S.D.N.Y. Sept. 5, 2019) (“Junk responded in writing … and further noted that he would not
provide a definition of the term ‘impairment’ because doing so could be construed as an advisory opinion.”).
296
    App.8186 (June 17, ’15).
297
    App.5231 (Nov. 21, ’16) (emphasis added).
298
    App.5202 (Nov. 22, ’16) (emphasis added); Hudson, 2019 WL 5722220 at *4-5, 21 (S.D.N.Y. Sept. 5,
2019).
                                                    53
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                     Page 62 of 73 PageID 29345



ERISA. 299 As stated by Defendant, “[t]he Board is required by federal law to apply the terms of

the Plan consistently from one Player to the next.” Motion at 33-34, citing Wildbur v. ARCO Chem.

Co., 974 F.2d 631, 637-38 (5th Cir. 1992) (explaining that the first criterion in evaluating the

propriety of a plan administrator’s interpretation is “whether the administrator has given the plan

a uniform construction”). Despite Groom preparing these contemporaneous Reclassification denial

letters, it chose an entirely new Groom Reinterpretation of Changed Circumstances 300 in order to

deny Cloud in the 2016 Appeal Decision Letter – one that required Cloud to show evidence of a

“new or different impairment” that arose while he was still playing in the NFL. How could a

player be receiving T&P Benefits under the Plan while still playing in the NFL and then develop

a “new or different impairment,” while still be playing in the NFL, so that he could seek

Reclassification of the prior award of T&P Benefits? This latest Groom Interpretation of Changed

Circumstances is an absurdity, and admittedly is the only one that Cloud cannot satisfy. It is no

wonder the Committee/Board members struggle to define Changed Circumstances, 301 and none of


299
    See, e.g., 29 CFR § 2560.503-1(b)(5).
300
    In truth, Defendant does not define Plan terms. Groom does. Even though Groom consistently maintains
that Defendant had sole and absolute discretion to interpret and apply the Plan in denying Cloud’s 2016
Application and 2016 Appeal, Groom repeatedly objected during depositions that the exercise of that
discretion required legal conclusions – which more accurately reflects who runs the Plan. App. 50 (192:18-
22), App.65 (251:22 – 252:7), App.85 (331:7 – 332:16, 333:12-18), App.86 (336:16-19); App.197 (139:16
– 140:1), App.222 (240:20 – 241:15), App.225 (251:15 – 253:18), App.241 (314:11 – 315:3), App.244
(327:15-19), App.262 (399:18 – 400:22); App.421 (338:5-8), App.432-33 (385:22 – 386:6), App.434
(393:2-5); App.582-83 (269:17 – 271:2, 272:19-24); App.676 (58:15-19), App.702 (164:9-16), App.720
(234:21 – 235:8).
301
    Ms. Smith believes it means a “new or different injury or illness or impairment” App.69 (268:14-16)
(emphasis added)], but never asked anyone what it means. App.70 (273:14-16). Reynolds believes it means
“[w]hen a situation is different than it was before” or a “new injury” or “new or different impairment”
or a “new injury, a new condition[,]” but nobody gave him a definition App.54 (209:6-12), App.58
(224:15-18), App.63 (244:17 – 245:11) (emphasis added). Ms. Smith admitted Cloud’s “new symptoms
could have been changed circumstances” App.85-86 (332:18 – 333:10, 335:19 – 337:5), and Reynolds
admitted new symptoms could be an impairment or condition. App.223 (245:12-13), App.225 (252:19 –
253:18). As to the Board, Vincent (Defendant’s corporate representative), Cass, and Mr. Smith understand
“changed circumstances” means “new or different impairment” or “new or different condition”
App.420 (335:8-17); App.565 (199:13-17); App.720 (235:21 – 236:3), App.718 (228:7-12). Vincent
admitted new concussion symptoms could be a change in circumstances. App.429 (372:14-20). Cass stated
                                                   54
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                  Page 63 of 73 PageID 29346



them know (or would admit) who defined it. 302

       In the context of medical issues, Changed Circumstances requires medical review, opinion,

and testimony. Dr. Wu opined, “[b]ased on my experience, training, analysis of Mr. Cloud’s brain,

and reasonable medical probability and certainty, Mr. Cloud presented a new impairment and,

thus, meets the definition of a changed circumstance as used in Section 5.7(b).” 303 Either this Court

can find Dr. Wu’s application of Changed Circumstances to be reasonable and find in favor of

Cloud, or it can accept the latest Current Definition and find in favor of Cloud.

       Substantively, the evidence in the AR shows that Cloud complained of new issues in his

2016 Application, Jennifer and Cloud testified to his evolving Cognitive Impairments, including

Second Change in Cognitive Impairments, and health care providers observed these changes.

Defendant has insisted that Cloud presented no evidence of these in his 2016 Application, but

Defendant took absolutely no steps to evaluate Cloud’s Changed Circumstances. Mr. Smith

confirmed that Cloud’s own reports are ample evidence to address Changed Circumstances. 304

Jennifer confirmed that Cloud “flipped a switch” between 2014 and 2016. 305 Defendant did not

communicate with Cloud, did not refer him for examination by a neutral physician, the Committee

made no evaluation of Cloud’s condition at all (in 2014 or 2016), and the Board purportedly

believed the Committee awarded Cloud Inactive A based upon the same impairments/conditions

alleged in his initial 2014 Application (when the Committee did none of those things).

       The 2014 Application stated the following impairments and conditions: “Migraine



new conditions or impairments resulting from a concussion are not new impairments because there was no
shred of evidence, App.580 (258:16 – 260-6), and Mr. Smith could not say whether a “new concussion
symptom” is a new or different impairment “as it applies to the Plan.” App.711 (199:24 – 200:1).
302
    App.69-70 (266:21 – 267:3, 270:10 – 271:7); App.215-16 (213:21 – 214:2), App. 223 (245:3-9);
App.420-22 (335:18 – 338:4, 342:15-17); App.557 (168:24 – 169:11); App.711 (198:15-17).
303
    App.5748.
304
    App.717 (222:3-9).
305
    App.1181 (138:21 – 140:13).
                                                 55
Case 3:20-cv-01277-S Document 178 Filed 03/18/22              Page 64 of 73 PageID 29347



Headaches, Depression, Memory Loss, Vertigo, Insomnia, Unpredictable Irritability”, “Sever[e]

Pain in: Right Foot, Left Great Toe, Left Hip, Base of Neck and Lower Bank”, “Numbness in:

Right Leg, Arms and Fingers”, and “Difficulties with: Verbal Fluency, Decision Making and

Concentration.” 306 The 2016 Application stated the following impairments and conditions:

“Migraine…, Clinical Depression…, Significant Memory & Attention Problems…, Vertigo…,

Impaired Verbal Fluency…, Memory loss, Attention and Decision Problems, Impaired Verbal

Fluency, Post-Concussion Syndrome…, [and] Affective Disorder.” 307 Dr. Wu confirmed the 2016

Application presented new conditions, including significant memory and attention problems,

decision problems, and affective disorders. 308 Cloud’s 2016 Application and 2016 Appeal for

Reclassification satisfy Defendant’s various definitions of Changed Circumstances with clear and

convincing evidence presented in the AR.

               2.     Cloud did not “admit” failure to meet Changed Circumstances.

        In its Motion, Defendant takes the position that Cloud waived or admitted he had no

Changed Circumstances and argues “[i]n litigation, Cloud has tried to rescind his concession and

manufacture ‘changed circumstances’[.]” Motion at 33-34. These are not the arguments of

fiduciaries.

        In Cloud’s 2016 Appeal, Cloud requested the Board to “reclassify” him to “‘Active

Football’ benefits and stated he “satisfies all of the criteria for an award of Active Football

benefits.” Dkt. 16 at CLOUD-AR-032 at § 5.3(a), CLOUD-AR-490. Jennifer assisted Cloud and,

in light of Cloud “suffering from neurological impairments” and “unable to comprehend the true

nature of what was required of him in order to apply for the level of benefits he deserved”, an



306
    Dkt. 16 at CLOUD-AR-097.
307
    Dkt. 16 at CLOUD-AR-290-291.
308
    App.5746.
                                              56
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                     Page 65 of 73 PageID 29348



absence of assistance from Defendant, and lack of knowledge as to what Changed Circumstances

is supposed to mean, Cloud requested the Board waive Changed Circumstances due to this overall

“distinct disadvantage when it comes to applying for benefits under the NFL Player

Retirement Plan.” 309 This request tracks the last sentence of Section 5.7(b) of the Plan, which

waives certain requirements of the Plan. Waiver is permitted when the Board or Committee finds

a player is “physically or mentally incapacitated in a manner that substantially interferes

with the filing of such claim.” 310

        Regarding tolling and waiver, Defendant should have taken Cloud’s Cognitive

Impairments into account irrespective of whether he expressly raised the issue. 311 As to any issues

related to the timing of Cloud’s 2014 Application, 2016 Application, or 2016 Appeal, Defendant

did not consider any tolling/waiver issues in its summary denial of Cloud’s request for Active

Football (T&P Benefits) and, instead, actively campaigned against Cloud with its legal counsel’s

post-hoc litigation argument transforming Jennifer’s request on behalf of Cloud into an express

waiver of the entire basis of the 2016 Appeal.

        C.      Cloud met the Shortly After requirement for Active Football (T&P Benefits)
                Even Though Not Required for Psych Disorders.

        In its Motion, Defendant argues the AR reflects that Cloud did not meet the Shortly After

requirement. Defendant relies on a series of arguments that do not withstand scrutiny.

        First, Defendant assumes Cloud must meet the Shortly After requirement. Cloud’s



309
    Dkt. 16 at CLOUD-AR-492 (emphasis added).
310
    Dkt. 16 at CLOUD-AR-037 at §5.7(b) (emphases added).
311
    See Jani v. Bell, 209 Fed. Appx. 305, 308, 317-19 (4th Cir. 2006) (“The Board has not presented
substantial evidence on which to deny Webster the protection of the provision tolling the limitations
period”…“These requests, however, were at times submitted only days apart…Not one of these applications
was ever completed. Contrary to the Plans’ assertion, these staccato requests weigh significantly in favor
of a finding of mental incapacity that ‘substantially interfered’ with Webster’s ability to file a claim)
(original emphasis)
                                                   57
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                        Page 66 of 73 PageID 29349



Cognitive Impairments fall within the Special Rules of the Plan related to Psych Disorders due to

head injuryies sustained while playing in the NFL (e.g., repetitive concussions) – Active Football

for NFL Brain Injuries. 312 Cloud need not meet the Shortly After requirement otherwise applicable

to the general rules (see supra at 10-11). Dr. Wu provided uncontroverted medical explanation that

        “[t]he most medically probable cause for the PET and MRI and neuropsychological
        and neuropsychiatric exam abnormalities and clinical symptoms in Mr. Cloud are
        due to sequelae from traumatic brain injury sustained in multiple subconcussive
        and concussive head injuries from his professional career[ ] as an NFL football
        player resulting in the medically likely diagnosis of chronic traumatic
        encephalopathy.” 313
                                              ***

        “[o]n July 15, 2016, Mr. Cloud presented the same symptoms plus significant
        memory and attention problems, attention and decision problems, and affective
        disorder. All of these symptoms are commonly associated with post-concussion
        syndrome and, certainly, were reported and experienced by Mr. Cloud.” 314

The cause of Cloud’s Cognitive Impairments in not truly in dispute. Almost every deponent

proffered by Defendant admits Cloud’s NFL Brain Injuries.

        Second, Defendant repeatedly misrepresents the AR in attempting to defeat Cloud’s

satisfaction of Shortly After. Defendant argues Cloud applied for only LOD Benefits (instead of

T&P Benefits) in 2009, Motion at 42, but the AR shows that was due to Defendant’s Instructions

(see supra at 12). Defendant argues the 2009 Application shows Cloud “was working”, see id., –

apparently implying that Cloud was not suffering a T&P Disability in April 2009. It actually says




312
    Dkt. 16 at CLOUD-AR-033 at § 5.4. The Special Rules also apply to substance abuse issues (“Substance
Abuse Disorders”). See id. at § 5.4(a). Each of Classifications 5.3(a), (b), and (c) expressly state they are
“[s]ubject to the special rules of Section 5.4[.]” (Section 5.2(d) is just a catch-all Classification). See id.
Likewise, general Conclusive Presumption in Section 5.7(a) expressly applies to Section 5.3, which yields
to Section 5.4. See Dkt. 16 at CLOUD-AR-032-033 at §§ 5.3(a)-(c), (e), 5.7(a). While Substance Abuse
Disorders maintain an application deadline of 8 years, there is no corresponding deadline for Psych
Disorders, which “appl[ies] regardless of when a claim for benefits is made or awarded.” App.5497.
313
    App.5741.
314
    App.5746; see also App.6135 (118:19-119:4), App.1218-1343, App.1345-55, App.6719; Dkt. 16 at
CLOUD-AR-303.
                                                      58
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                  Page 67 of 73 PageID 29350



he was working for “self” which anyone sitting at home earning no income can claim, as is the

case here. 315 Cloud’s SSA Award reflects he had not “engaged in substantial gainful activity since

December 31, 2008” (see supra at 19-20), which refutes that “Cloud was working” and itself was

based on the erroneous assumptions regarding Cloud’s prior Sale of Personal Effects in his 2008

unsuccessful bid to stave off foreclosure of his home. Defendant next argues Cloud claimed in his

2014 Application that his initial disability arose in 1999 and subsequent T&P Disability arose 7

years later in 2006. Motion at 42 (Defendant previously argued 2008, Motion at 17). It actually

says Cloud’s disability arose due to the cumulative concussions sustained from 1999-2005. 316

Defendant cannot seriously suggest that Cloud was disabled in his first year in the NFL, but

Defendant does just that. The above misstatements about Cloud “working” and manipulations of

the timeline of Cloud’s disability and T&P Disability are designed to aid Defendant’s next

argument, that the Conclusive Presumption (which applies only to initial applications) bars

Cloud’s satisfaction of Shortly After. Defendant then argues that is what is reflected in the 2014

Decision Letter, Motion at 42-43, even though none of it is there other than the identical Boilerplate

Denial of Active Football language used in denial letters spanning decades and which violates the

express requirements of ERISA (see supra at 22). As to Cloud’s 2016 Application, Defendant

argues Cloud alleged his T&P Disability arose at the time of his 2004 Concussion. Motion at 43.

Although this stiff mechanical reading of the 2016 Application seemingly would support a Shortly

After finding, it nonetheless remains a selective reading as the 2016 Application includes Cloud’s

full narrative into which he specifically summarized Cronin’s description of the evolution of the

Cloud Disabilities throughout 2004 and 2005 after which he was “consequently cut due to these




315
      App.3081.
316
      Dkt. 16 at CLOUD-AR-97 at “Part 2(a)”.
                                                 59
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                     Page 68 of 73 PageID 29351



cumulative mental disorders.” 317 Defendant ignores all this and simply moves on with several

pages of disingenuous arguments that there is no evidence Cloud was suffering a T&P Disability

while playing in the NFL during 2005. Motion at 43-45. Of course not. Cloud has never alleged

he was suffering a T&P Disability while playing in the NFL, at least not until the time period

surrounding his release at the conclusion of the 2005 season (in early 2006). Defendant also points

to Cloud’s repeated failed efforts to secure employment in the aftermath of his T&P Disability,

essentially seeking to penalize him for trying to work rather than praising him for it even though

he failed. 318 Motion at 45.

        Finally, Defendant blindly adopts the SSA Onset Date of December 31, 2008, the reasoning

in the SSA Award and timing of which clearly relate to Cloud’s prior Sale of Personal Effects in

his 2008. Motion at 45-46. In this regard, the Plan provides that Defendant is not bound by the

SSA Award as to “timing and causation of [a T&P Disability[.]” 319 Defendant included this

provision in the Plan (as amended in 2014) because it was resisting efforts to bind it to SSA

findings as to timing and causation. 320 If Defendant fought being bound by SSA awards as to

timing or causation and amended the Plan to that end, then it has a fiduciary obligation to exercise

it in a reasonable manner. Defendant’s blind adoption of the SSA Onset Date in this litigation is

selective, solely aimed at supporting denial of Active Football (T&P Benefits). It is highly




317
    Dkt. 16 at CLOUD-AR-288-89, 291.
318
    “I was an educated person from Boston College. I didn’t work. I was unable to hold a job. I don’t know
too many BC graduates that are unable to hold a job. There’s a problem with me and my mind. Okay? Not
making it up. Did I try to work? Yes.” App.974 at 197:18-23.
319
    Dkt. 16 at CLOUD-AR-036 at § 5.7(a).
320
    See Solomon v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, No. MJG-14-3570, 2016 WL 852732, at
*5, 7 (D. Md. Mar. 4, 2016) (addressing “whether an SSA determination of the disability onset date was
binding on the Plan under Section 5.2 of the Plan as it existed prior to the 2014 amendment” and finding,
under pre-amendment Plan, Defendant “bound by the fact, and onset date, of disability found by the SSA”),
aff’d, 860 F.3d 259, 265 n.5 (4th Cir. 2017) (“the Plan has since been amended to provide that the SSA’s
determination as to the disability onset date is not binding for the purpose of Plan benefits”).
                                                   60
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 69 of 73 PageID 29352



improbable that Defendant would blindly adopt it if it triggered qualification for Active Football

(T&P Benefits). Defendant never bothered to seek a medical opinion as to Cloud’s Cognitive

Impairments or their review of his medical records. ERISA regulations require plan administrators

to utilize peer reviewers that have “appropriate training and experience in the field of medicine

involved in the medical judgment.” 321 The Plan’s claims procedures are required to provide a full

and fair review, which includes “in deciding an appeal…based in whole or in part on a medical

judgment…the appropriate named fiduciary shall consult with a health care professional[.]”322

Here, Defendant did not secure the advice of any neutral or other medical expert before it denied

Cloud’s 2016 Application and 2016 Appeal. They relied only upon Groom and other lawyers who

have no medical training. Defendant attempts to circumvent this glaring fact by claiming “Cloud’s

reclassification request was not the type of benefit claim that could only be decided by medical

experts … [and] every issue before the Board could readily be decided by laypersons.”323

Defendant essentially argues that it did not need medical experts to assess whether Cloud

experienced Changed Circumstances – even though (1) its own definitions related to

physical/medical conditions, and (2) Board/Committee members acknowledged Cloud’s

conditions may have been new impairments or otherwise expressed their confusion. Cass even

testified the Board would not send Cloud to a neutral physician, 324 even though the Board has done

it many times when it serves a denial of benefits. For example:

       At its November 19, 2009 meeting, the Retirement Board referred [Redacted] for a
       thorough, state-of-the-art examination. The Plan’s Medical Director then arranged
       for two days of such examination and testing with a pre-eminent physician, Dr.



321
    Davis v. Aetna Life Ins. Co., 699 F. App’x 287, 295 (5th Cir. 2017) (quoting from 29 CFR § 2560.503-
1(h)(3)).
322
    29 CFR § 2560.503-1(h)(3) (emphases added).
323
    Dkt. 78 at 25.
324
    App.547 (126:1-12).
                                                  61
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 70 of 73 PageID 29353



       Helene Chui, and her colleagues at USC. 325

Defendant’s neutral neurologist, DiDio, expressed concern that Cloud suffered traumatic brain

injuries (i.e., his NFL Brain Injuries), but Defendant buried it. Dr. Wu, the only medical

professional to review the circumstances underlying Cloud’s 2016 Application and 2016 Appeal,

opines: “[b]ased on my experience, training, analysis of Mr. Cloud’s brain, and reasonable medical

probability and certainty, Mr. Cloud was totally and permanently disabled as those terms are used

in the medical community as of March 30, 2006[.]” 326 Defendant would have known these facts if

it had complied with, and not buried, the DiDio Report and Brain Studies Recommendation during

approximately 6 years of denying Cloud the T&P Benefits (Active Football) to which he is entitled.

III.   Defendant Consistently Has Withheld Documents from Cloud and Impeded His
       Ability to Submit Documents in Support of Claims for Active Football (T&P
       Benefits).

       Defendant argues there is no basis for Cloud’s allegations in support of Count II, which

brings claims under 29 U.S. Code § 1133(2) regarding Defendant’s failure to “afford a reasonable

opportunity to [Cloud] whose claim for benefits has been denied for a full and fair review by the

appropriate named fiduciary of the decision denying the claim.” The requirements of this provision

are not limited to Count II as a “full and fair review” is a fundamental component of the provisions

underlying Cloud’s claims in Count I [29 U.S.C. § 1132(a)(1)(B), (a)(3)], which Defendant does

not challenge. Nonetheless, Cloud responds as follows.

       Addressing the limited scope of Defendant’s argument, in order for the review to qualify


325
    App.5444, App.5446 (emphasis added); see also Giles v. Bell/Pete Rozelle NFL Player Ret. Plan, 925
F.Supp.2d 700, 712 (D.Md. 2013) (stating “Board … decided to ‘table[ ]’ the appeal to allow for ‘further
medical review[,]’ … “scheduled an ‘independent medical evaluation’ … by a ‘neutral physician[.]’”);
Johnson v. Bell, 468 F.3d 1082, 1085 (8th Cir. 2006) (stating “Johnson appealed the Claims Committee’s
second denial, and the Plan referred him to Dr. Craig Chebuhar for another evaluation.”); Boyd v. Bert
Bell/Pete Rozelle NFL Players Retirement Plan, 410 F.3d 1173, 1177 (9th Cir. 2005) (stating “Board
referred Boyd to Dr. Branko Radisavljevic, a Plan neutral psychologist.”).
326
    App.5745 (see entire page for explanation of bases for his opinon).
                                                  62
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                        Page 71 of 73 PageID 29354



as a “full and fair review,” the administrator must “[p]rovide … upon request … all documents,

records, and other information relevant to the claimant’s claim for benefits.” 327 As stated by

Defendant in its Motion, a participant is entitled to request and receive copies of documents that

are submitted, generated, or relied on by a plan administrator when deciding a claim for benefits.

Motion at 47-48 (citations omitted). Defendant focuses only on “medical documentation” and

claims that Cloud never asked for documents or accused it of withholding documents. Motion at

48. This position is simply contrary to the evidence in the AR, 328 and based solely on Vincent

claiming the PBO has no record of his requests (even though he did not work at the PBO until

years after Cloud’s NFL career ended). 329 Motion at 48. Where Defendant admits to the contrary

in a footnote, it claims it was “much later and for different reasons.” Id. at n. 33.

        Since the conclusion of Cloud’s NFL career, he has been requesting records related to and

in support of his 2009 Application, 2010 Appeal, 2014 Application, 2016 Application, and 2016

Appeal. To date, Defendant is the only party who possesses a complete copy of the AR. This Court

certainly does not. Defendant filed the purported complete AR on January 5, 2021 – over 1 year

ago. 330 Over the course of a year of litigation with numerous depositions, Defendant withheld


327
    29 CFR 2560.503–1(h)(2)(iii); see also 29 C.F.R. 2560.503–1(h)(2)(iv) (requiring “full and fair review”
which “takes into account all comments, documents, records, and other information submitted by the
claimant relating to the claim ...”); Dimry, 855 Fed. Appx. At 333 (“‘full and fair review’ cannot be achieved
without ‘a meaningful dialogue between ERISA plan administrators and their beneficiaries.’ … “This
standard includes requesting ‘more information [when] needed to make a reasoned decision. A plan
administrator fails to meet this duty when its communications are opaque or nonexistent.”); Atkins v. Bert
Bell/Pete Rozelle NFL Player Retirement Plan, 2011 WL 13269721 (W.D. Tex. Mar. 02, 2011) (Order
Granting Atkins Leave to File Amended Complaint) (“this dispute has been ongoing for over six years. …
[t]he NFL Board of Trustees have been considering Plaintiff’s claim for reclassification since 2006. …
Although the Court has heard multiple times from Defendants that the final arbitration decision is just
around the comer, it has now been nearly a year since the arbitrator was presented with a motion for
reconsideration. There have also been issues with defense counsel … [t]he time is long past for this case to
be heard. ERISA requires a plan ‘afford a reasonable opportunity to any participant whose claim for benefits
has been denied for a full and fair review ...’ 29 U.S.C. § 1133.”).
328
    See supra at 11-13, 16 n. 94, 41-42.
329
    Vincent did not begin working for the PBO until two years later in July 2008. App.406 at 279:9-10.
330
    [Dkt. 16].
                                                     63
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 72 of 73 PageID 29355



thousands of pages from the AR, producing 3,000+ pages as recently as January 28, 2022. Even

in their Motion, Defendant implies that it still has not produced everything and/or placed it into

the AR: “[f]or the sake of completeness, Defendant reserves the right to ask the Court to consider

additional documents that Cloud selectively excluded from his motions to supplement the

Administrative Record.” Motion at 2, n. 5. Here, we are nearing 2 years since this lawsuit was filed

and Defendant still has not provided this Court with a complete AR. These are illustrative of the

fact that Defendant does not actually maintain an administrative record of the claims its handles.

It sloppily compiles them in an ad hoc manner only when litigation ensues. This is consistent with

Cloud’s requests since 2009 to be provided as documents related to his applications and appeals,

as part of Defendant’s Slow Disclosure of Records and it still remains unclear how many additional

documents and other records were reviewed in the denial of Active Football (T&P Benefits) (see

supra at 41-42). Consequently, as pleaded by Cloud, he “was never granted the opportunity to

present his full and complete case for Active Football T&P benefits due to the [Defendant] (and

its advisors and counsel) withholding relevant records.” 331

IV.        Cloud Does Not Challenge the Committee’s 2014 Decision to Award Him Inactive A
           (T&P Benefits).

           Defendant argues in its Motion that Cloud is not challenging the denial of the 2016 Appeal,

a position that ignores the totality of the events in this proceeding. Motion at 49-50. Cloud is not

“attempting to undo the Committee’s 2014 decision to award him Inactive A benefits in the first

place.” Id. Cloud addresses Defendant’s handling of the 2014 Application because it reflects, along

with everything else, Defendant’s systemic violations of the Plan and ERISA. It also reflects the

Committee Reliance on SSA Award as the sole basis for the award of Inactive A (T&P Benefits).

In other words, Defendant did not evaluate the Cloud T&P Disabilities at issue in the 2016


331
      Dkt. 68 at 27, ¶ 50.
                                                   64
Case 3:20-cv-01277-S Document 178 Filed 03/18/22                    Page 73 of 73 PageID 29356



Application and 2016 Appeal, including the Changed Circumstances (under any of the various

definitions) between 2014 and 2016. In this regard, Cloud does not seek retroactive payments for

Active Football (T&P Benefits) going back to the 2014 Application, but only requests

Reclassification pursuant to the provisions of the Plan and Defendant’s own interpretations of

same. The remainder of Defendant’s argument on this issue similarly denies the realities in this

case or otherwise inserts novel issues never before pleaded, sufficiently briefed, or currently

supported by any evidence in the AR.

                                            CONCLUSION

       For the reasons set forth above, Cloud prays that this Honorable Court deny the Motion in

its entirety. Cloud further prays and requests such other relief, general or special, to which Plaintiff

may show himself justly entitled.

       March 18, 2022.                                 Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

        I certify, on this 18th day of March, 2022, a true and correct copy of this Brief in Response
to Defendant’s Motion for Summary Judgment on the Administrative Record and Brief in Support
was filed with the Clerk of the Court via CM/ECF, which automatically delivers notice of the filing
of the same to all counsel of record.
                                                       /s/ Christian Dennie
                                                       Christian Dennie

                                                  65
